                        UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

IN RE                                       :
                                            :
RANDY BENAVIDES BALDERAS                    :      Case No. 16-52554-cag
                                            :
DEBTOR                                      :

CAPITAL FARM CREDIT, PCA                    :
                                            :      Adv. No. __________
Plaintiff                                   :
                                            :
Versus                                      :
                                            :
RANDY BENAVIDES BALDERAS                    :
                                            :
Defendant                                   :

              ORIGINAL COMPLAINT OBJECTING TO THE DISCHARGE
                            OF SPECIFIC DEBTS

         CAPITAL FARM CREDIT, PCA, Plaintiff, complains of RANDY BENAVIDES

BALDERAS, Defendant, as follows:

                              PARTIES AND JURISDICTION

         1.   Plaintiff Capital Farm Credit, PCA is a subsidiary of Capital Farm Credit, ACA.

Capital Farm Credit, ACA is a federal Farm Credit System lending institution. Capital Farm

Credit, PCA extends short to intermediate term credit to farmers, ranchers and rural residents.

Loans made by Capital Farm Credit, PCA are typically secured by liens against operating assets,

farm products, livestock, and proceeds. Capital Farm Credit PCA’s principal office is located at

3000 Briarcrest, Suite 501, Bryan, Texas 77802.


         2.   Defendant Randy Benavides Balderas is an individual who resides at 2049 FM

3006, Pleasanton, Texas. The Defendant filed for relief under chapter 11 of the Bankruptcy

Code on November 3, 2016. No trustee has been appointed.


{C1545662.DOCX:1}
       3.      The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 1334 and

157, and 11 U.S.C. §§ 523(a)(2)(A) and 523(a)(6) of the Bankruptcy Code This proceeding

arises under the Bankruptcy Code and arises in a case under chapter 7 of the Bankruptcy Code.

This proceeding is within the core jurisdiction of the Court. Venue in this Court is proper

pursuant to 28 U.S.C. §1409.


                         FACTS APPLICABLE TO ALL COUNTS


       4.      Defendant is the 100% owner of Big Racques Ranches, LLC, a Texas limited

liability company formed in March, 2015. On information and belief, Capital Farm Credit avers

that the Debtor and his wife Jacqueline are the two managing members of Big Racques Ranches,

LLC. At all times pertinent to this Complaint, the Defendant controlled the conduct of the

business of Big Racques Ranches, LLC.


       5.      Beginning in April 2015 Capital Farm Credit FLCA and Capital Farm Credit PCA

made a series of long and intermediate term loans to Big Racques Ranches LLC and Randy

Balderas, as co-makers, secured by property which Capital Farm Credit believes to be owned

solely Big Racques Ranches, LLC. Capital Farm Credit PCA made a total of four loans.


       6.      The First PCA Loan is evidenced by the Term Promissory Note dated May 7,

2015 in the original principal amount of $154,450.00 (“First PCA Note”). The loan had a payoff

balance of $130,265.85 as of December 12, 2016. The First PCA Note is secured by the liens and

security interest described in the Security Agreement (incorporated with the note in a single

document) for the benefit of Capital Farm Credit, PCA, in the following property of Big Racques

Ranches LLC:




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       a.      All livestock including but not limited to specific cattle described in the Security

Agreement..


A true copy of the First PCA Note and Security Agreement is attached as Exhibit A and is

incorporated by this reference.


       7.      The Second PCA Loan is evidenced by the Promissory Note dated May 28, 2015,

in the original principal amount of $150,000.00, as amended in April 2016 (“Second PCA

Note”). The loan had a payoff balance of $152,181.11 as of December 12, 2016. True copies of

the Second PCA Note and Amendment are attached as Exhibit B. The Second PCA Note is

secured by the liens and security interests described in the Commercial Security Agreement

dated May 28, 2015 in the following property of Big Racques Ranches LLC:


       a.      All livestock including but not limited to specific cattle described in the Security

Agreement;


       b.      3 irrigation pivot systems.


A true copy of the Security Agreement is attached as Exhibit C.


       8.      The Third PCA Loan is evidenced by the Promissory Note dated June 24, 2015 in

the original principal amount of $165,600.00 (“Third PCA Note”). The loan had a payoff

balance $178,222.59 as of December 12, 2016 (“Third PCA Note”). A true copy of the Third

PCA Note is attached as Exhibit D. The Third PCA Note is secured by the liens and security

interests described in the Commercial Security Agreement dated June 24, 2015 in the following

property of Big Racques Ranches LLC:


       a.      All livestock, including the specific cattle described in the Security Agreement.



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A true copy of the Commercial Security Agreement is attached as Exhibit E.


       9.     The Fourth PCA Loan is evidenced by the Promissory Note dated December 16,

2015 in the original principal amount of $34,000.00 (“Fourth PCA Note”). The loan had a payoff

balance of $35,684.02 as of December 12, 2016. A true copy of the Fourth PCA Note is attached

as Exhibit F. The Fourth PCA Note is secured by the liens and security interests described in the

Commercial Security Agreement dated December 16, 2015 in the following property of Big

Racques Ranches LLC:


       a.     2 irrigation pivot systems and related equipment, casing, and pipe, as described

therein.


A true copy of the Commercial Security Agreement is attached as Exhibit G.


       10.    Big Racques Ranches, LLC is a Texas limited liability company which was

formed in March, 2015.


       11.    Defendant is a co-maker of the indebtedness which is owed to Capital Farm

Credit, FLCA. Defendant is the representative of Big Racques Ranches LLC with respect to the

loans extended by Capital Farm Credit PCA.


       12.    Capital Farm Credit PCA has declared a default under the First PCA Loan, the

Second PCA Loan, the Third PCA Loan and the Fourth PCA Loan. The first payment default

occurred in July 2016 when the borrowers failed to pay annual installment then due on the Third

PCA Loan. There have been subsequent payment defaults in Second PCA Note and the Fourth

PCA Note. The borrowers are also in payment default on a loan of approximately $1 million

owed to Capital Farm Credit FLCA secured by real property owned by Big Racques Ranches



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LLC. All of the obligations owed to Capital Farm Credit, FLCA and Capital Farm Credit, PCA

are cross-collateralized and, for the most part, cross-defaulted.


       13.     As a result of the borrowers’ default, On or about September 6, 2016, Capital

Farm Credit PCA gave notice to Big Racques Ranches, LLC of the opportunity to participate in

distressed loan restructure negotiations.


             COUNT ONE – MISREPRESENTATIONS AND ACTUAL FRAUD
                             11 U.S.C. §523(a)(2)(A)



       14.     Plaintiff incorporates by this reference the allegations of the foregoing paragraphs

one through thirteen.


       15.     As an integral part of the negotiations between Big Racques Ranches LLC and

Capital Farm Credit, PCA with respect to the Second PCA Loan, Defendant represented that the

borrower would use the money to support the cattle operation and herd of Big Racques Ranches,

LLC including the payment of general operating expenses.


       16.     On or about June 1, 2015, Capital Farm Credit PCA advanced $148,500.00 under

the Second PCA Loan. Capital Farm Credit PCA wired the money to Defendant’s account at

Capital One.


       17.     Based upon the Defendant’s records produced to Capital Farm Credit, PCA, the

Defendant used no less than $56,000.00 of the loan proceeds for purposes other than general

operating expenses of Big Racques Ranches LLC or the support of its cattle operation.


       18.     Defendant falsely represented to Plaintiff that the loan proceeds would be used to

support the operations of Big Racques Ranches LLC.



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        19.      When Defendant made the representation to Plaintiff, he knew it to be false and

that a substantial portion of the loan proceeds would be used for other purposes.

        20.      Capital Farm Credit PCA justifiably relied on Defendant’s misrepresentation

when it advanced the sum of $148,500.00 under the Second PCA Loan.

        21.      Plaintiff was injured by Defendant’s misrepresentations because loan funds were

used for purposes other than the support of the operations of the Big Racques Ranches, LLC and

the cattle operation.

        22.      The injury constitutes a debt for money which obtained by false pretenses, false

representations, or actual fraud, and is nondischargeable pursuant to the provisions of 11 U.S.C.

§523(a)(2)(A).

                   COUNT TWO – WILLFUL AND MALICIOUS INJURY
                                11 U.S.C. §523(a)(6)

        23.      Plaintiff hereby incorporates by this reference the allegations of the foregoing

paragraphs one through thirteen.

        24.      On or about September 21, 2016 Big Racques Ranches, LLC, without the

permission of Capital Farm Credit PCA and in violation of the conditions of its loan, sold

approximately 85 head of cattle and failed to remit the proceeds to Capital Farm Credit PCA.

        25.      The terms of the various PCA loans prohibit the sale of collateral without the

permission of Capital Farm Credit, PCA. Further, in the event of a sale, Big Racques Ranches

LLC is required to account for the proceeds and to pay them to Capital Farm Credit, PCA. Big

Racques Ranches, under the control of the Defendant a) sold cattle without permission; b) failed

to account for the proceeds; and c) did not remit the proceeds to Capital Farm Credit, PCA.

        26.      Defendant’s actions were objectively certain to cause Capital Farm Credit PCA

harm as a result of the reduction of its livestock collateral.



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       27.     Defendant’s actions occurred subsequent to the borrowers’ payment default under

the Third PCA Note.

       28.     Defendant’s actions occurred subsequent to Capital Farm Credit having given

notice to the borrowers of the opportunity to participate in distressed loan restructuring.

       29.     Plaintiff has suffered actual damages as a result of such malicious injury to its

collateral in the amount of $56,753.17.

       30.     Such damages constitute a debt which is nondischargeable pursuant to 11 U.S.C.

§523(a)(6).

       FOR THESE REASONS, PLAINTIFF CAPITAL FARM CREDIT PCA requests that the

Court enter judgment in it favor and against DEFENDANT RANDY BENAVIDES

BALDERAS, in an amount no less than $112,753.17, with findings and conclusions that such

amount shall not be discharged in this case. Plaintiff requests such other and further relief to

which he may show himself justly entitled.

       Submitted this 27th day of February, 2017.

                                                      BRANSCOMB PC
                                                      711 Navarro, Suite 500
                                                      San Antonio, Texas 78205
                                                      Telephone     210-598-5401
                                                      Facsimile     210-598-5405
                                                      Email         pautry@branscombpc.com


                                                      ____/s/ Patrick H. Autry_____
                                                      Patrick H. Autry
                                                      State Bar No. 01447600
                                                      ATTORNEYS FOR CAPITAL                   FARM
                                                      CREDIT PCA




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                    EXHIBIT A




{C1545662.DOCX:1}
                                                                       Name: Big Racques Ranches, LLC
                                                                       Loan No.: 268100258
                                                                       Association: Capital Farm Credit, PCA
                                                                       Branch: San Antonio
                                                 Capital Farm Credit, PCA
                                                          TERM
                                         APPROVAL NOTICE AND LOAN AGREEMENT

Capital Farm Credit, PCA whose address is 3000 Briarcrest Dr. Suite 601 Bryan, TX 77802 ("Lender") has approved your application for a loan
under the terms and conditions set out below:
DATE OF APPROVAL:            April 30, 2015


OTHER CONDITIONS:

Multi Additional Terms
AGREEMENT TO PATRONAGE DISTRIBUTION
Being a Stockholder of Capital Farm Credit, ACA (Association) has many benefits. One of those benefits is that the Association, under the direction
and at the discretion of its Board of Directors, may elect to share its earnings with its Stockholders by paying patronage distributions.
As a Stockholder of Capital Farm Credit, ACA, I hereby consent that the amount of any distribution with respect to my patronage of the Association
occurring after January 1, 1997, which is paid in cash, a qualified written notice of allocation or other property [in accordance with 26 U.S.C.
1385(a)] and which is received by the undersigned from the Association, will be taken into account as income by me at the stated dollar amount of
such allocation, in the manner provided for in 26 U.S.C. 1385 (a), in the taxable year in which such written notices of allocation are received by me.
The Association may, at its option, apply the amount of any cash distribution to my loan rather than making disbursements to me. In that event, I
agree to take into account that amount as income just as though it were received by me.
Unless otherwise directed on the Patronage Account Main Holder Form. Power of Attorney is hereby given to the primary applicant to act for and on
behalf of all account co-holders in all matters pertaining to this loan, including the right to vote the Association stock and to receive payment of
dividends or patronage and the proceeds of refunded stock or participation certificates as well as the distribution or retirement of any allocated or
unallocated equities. In the event of a conflict with regard to who is authorized to act on behalf of the stockholders in this regard, the Association
may pay such proceeds to any stockholder and the stockholder agrees to indemnify the Association against any claims, costs, loss or expenses
relating to said payment.

VOTER DESIGNATION

Randy Balderas is hereby designated to act on behalf of the undersigned joint stockholders to carry out any voting privileges associated with stock
ownership related to this loan or any other loan in accordance with the Association's bylaws. This designation replaces and supersedes any previous
designation.

LIMITED PARTITION & SURVIVORSHIP AGREEMENT
THAT, for and in consideration of the sum of $10.00 cash, and the further consideration of the mutual benefits to be derived by this Agreement, the
receipt and sufficiency of which is hereby severally acknowledged, the undersigned, as husband and wife, and by virtue and pursuant to the Texas
Family Code, and the Texas Estates Code, both as amended; do hereby convey each to the other all of their undivided interests in and to the below
described Farm Credit System stock or participation certificates as their respective separate property and each represents to the other that this is an
equal and fair partition of said interest.
The undersigned hereby enter into this Agreement, for and in consideration of the mutual Agreement set out above, do hereby agree to and authorize
the purchase, issuance, or reissuance of any stock or participation certificates in the names alternatively of each of us "joint tenants with right of
survivorship," and for any dividends, distributions or refunds on said stock or participation certificates to be paid in a like manner; said stock or
participation certificates as carried on the books of Capital Farm Credit, ACA of San Antonio, Texas.

CREDIT LIFE INSURANCE
I understand that credit life and disability insurance may be available through the Association subject to the eligibility requirements of the insurance
company. If such insurance is required as a condition of my loan, I understand that I (we) may choose to purchase that insurance from a source other
than this Association.
   y C . I do not request credit life insurance.
    '     1 do request Credit Life Insurance

After a loan has been granted to me and life insurance has been effected, and my loan is extended, or increased, or becomes delinquent, I do hereby
request and authorize the Capital Farm Credit, ACA at its option, to have my life insurance continue for the amount of the original insurance or for
any increases, so long as the amount does not exceed my total loan commitments or the limit of insurance that I am eligible to buy at my age.

ADDITIONAL TERMS
By signing below, I hereby acknowledge that I was furnished a copy of the booklet or Form 574 explaining the nature of my investment in Capital
Farm Credit, ACA stock or participation certificates and disclosing the benefits and risks associated with this investment. I further acknowledge that
I have received Capital Farm Credit's most recent annual or quarterly report and a copy of its capitalization bylaws. I understand that I have a right to
receive copies of all documents which I have signed in connection with any Capital Farm Credit loan and I acknowledge that I have received such
copies.

FINANCIAL STATEMENTS: Capital Farm Credit (CFC) retains the right to obtain current credit and financial information from all liable parties
and guarantors associated with this loan or for any loan(s) involving CFC and said parties, for any matter(s) associated with said loan(s) including,
but not limited to, any and all servicing action(s) taken in connection herewith. CFC will determine the financial information required from time to
time and make the parties aware of the reporting requirements in writing. In the event the parties do not provide the required information within the
time frames established by CFC, the loan(s) may be subject to the default terms listed in their respective note(s).




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Financing Statements, Security Agreements and Certificates of Title (as Applicable) to be obtained on: All livestock now owned and hereafter
acquired but not limited to: 13 Black Motley cross-bred heifers, 17 Brangus cross-bred heifers, 20 Black Motley and Brangus cross-bred exposed
heifers, 3 Brangus certified bulls , 1 registered Brangus bull, 50 crossbred heifers and 2 Brangus Bulls.

See Attached Incorporated General Conditions

                                         r
Signature:                          ~    "°—*"*
             Loan Officer

                                                          PROMISSORY NOTE
Lender's Name and Address: Capital Farm Credit, PCA whose address is 3000 Briarcrest Dr. Suite 601 Bryan, TX 77802. "You" means Lender, its
successors and assigns.
For value received, I, whether individually, or jointly and severally, promise to pay to you, or your order, at your address listed above the
PRINCIPAL sum of One Hundred Fifty Four Thousand Four Hundred Fifty And Zero/100 Dollars $( 154.450.00).
|E3 Single Advance: No additional advances are contemplated under this note.
 • Multiple Advance: The Principal sum shown above is the maximum amount of principal I can borrow under this note. I will receive an initial
advance in the amount of $                   and future principal advances are contemplated.

n Open End Credit: You and I agree that I may borrow up to the maximum amount of principal more than one time. This feature is subject to
all other conditions and expires on
• Closed End Credit: You and I agree that I may borrow up to the maximum only one time (and subject to all other conditions).

INTEREST: I agree to pay interest on the outstanding principal balance from the date principal is advanced until paid at the rate or rates herein
provided.
       The initial rate of interest payable on this note shall be 4.7300 percent per annum. Following closing and beginning on the first day of every
       successive calendar month thereafter (the "Interest Rate Change Date") until maturity the interest rate shall be 455.0000 basis points (4.55
       percentage points) above (the "Margin") the One-Month London Interbank Offered Rate ("LIBOR") as quoted in the "Money Rates" section of
       the Wall Street Journal on the last business day of the prior month and rounded to the nearest basis point (0.01 percentage points) (the "Index").
       The interest rate will change during the term of the loan until maturity on each Interest Rate Change Date if there is a change in the Index. In the
       event the Wall Street Journal or the LIBOR interest rate is no longer available as a source for the Index the Lender may select another source of
       comparable information in its sole discretion. The rate shall not exceed the maximum lawful rate applicable to the holder.

ACCRUAL METHOD: Interest will be calculated on a Actual 365/366 basis.

POST MATURITY RATE: I agree to pay interest on the unpaid balance of this note owing after maturity, and until paid in full, as stated below:
•  on the same fixed or variable rate basis in effect before maturity (as indicated above).

Kl at a rate equal to the rate of interest applicable to this note on the date of maturity plus an additional four percent (4.000 %) per annum.

PAYMENT: I agree to pay this note as follows:

The indebtedness shall be payable in Five ( 5 ) Annual installments beginning on June 01. 2016 and thereafter on the first day of each June of each
calendar year until the Maturity Date when the indebtedness, both principal and interest must be fully paid.
•          Interest only payment(s) shall be payable on the installment due date(s).
After the initial payment of interest only (if applicable), this note shall be payable:
[>sl       in successive equal installments of principal and interest in an amount sufficient to amortize the indebtedness over
the term of the loan, the amount being subject to adjustment to reflect any increase or decrease in the interest rate, if applicable.
•          in successive installments of principal in the amount of $ plus accrued interest on the unpaid principal balance.
I understand and agree that the first installment will include all interest accrued on the unpaid principal balance from the date principal is first
advanced.

Maturity Date: 06/01/2020

DEFAULT INTEREST: Prior to maturity of this note, any amount owing under this note which is not paid when due, and any advance made by
the holder of this note pursuant to any of the Loan Documents, shall bear interest at a default rate equal to the rate in effect at the time repayment of
such amount or advance is received by the holder of this note plus an additional four percent (4.000 %) per annum. Any such amount or advance
which is not paid prior to maturity of this note shall bear interest at a default rate equal to the rate of interest applicable on the date of maturity plus an
additional four percent (4.000 %) per annum from the date such amount is due or such advance is made, and such amount or advance plus accrued
default interest thereon shall be added to the unpaid principal at maturity. Notwithstanding the foregoing, if the holder of this note is not a Farm
Credit System Institution, then the default rate shall be limited so that it shall not exceed a rate that will result in an effective yield in excess of the
maximum lawful rate. If any amount owed under this note or the loan documents is not paid when due, the holder shall be entitled to collect default
interest from the date(s) of default in an amount produced by applying the applicable default interest rate as set out above to the amount in default. If
said default(s) is not cured within fifteen (15) days of the occurrence of such default(s), the holder shall be entitled to collect an additional default
interest charge of $25.00.


I~~l        Prepayment.

^          Post Default Interest Adjustment.
In addition to the default interest provided for herein, if borrower defaults and such default(s) is not cured within forty-five (45) days of the
occurrence of such default(s), the rate of interest (whether fixed, determined in the discretion of holder, by application of a margin to an index, or
otherwise) applicable to all unpaid amounts under the note or loan documents may be increased, at the option of the holder of this note, (which will
result in a corresponding increase in the default interest rate), provided that the total of all rate increases made pursuant to this sentence (exclusive of
the $25.00 default interest charge(s), and the default interest provision established herein) shall not exceed two percent (2.0000 %).

DELINQUENCY AND PREPAYMENT: If I fail to make any payment when due, or if I am in default of anything I have agreed to do in any
Security Agreement I may have given you, you may require me to immediately pay you all that I owe you under this Note without notifying or
demanding anything further of me and I hereby waive Presentment, Dishonor, Notice of Dishonor and Protest. If this loan is secured, as indicated


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  below, you will have all of the rights of a Secured Party under the Uniform Commercial Code. I may prepay a part of, or the entire balance of this
  loan without penalty unless we specify to the contrary on this Note. Any partial prepayment will not excuse or reduce any later scheduled payments
  until this note is paid in full.


                                                         SECURITY AGREEMENT
  SECURITY:
  Kl If marked here, in order to secure all obligations under this loan, or any loan(s) I have with you, and any extensions, renewals or modifications
  thereof, I, the undersigned, grant you a security interest under the Uniform Commercial Code, according to the following, in the following described
  property. If the proceeds in this loan pay off the balance in a prior loan with you, this loan is a renewal of that prior loan.
  1. The following described property: All livestock now owned and hereafter acquired but not limited to: 13 Black Motley cross-bred heifers, 17
  Brangus cross-bred heifers, 20 Black Motley and Brangus cross-bred exposed heifers, 3 Brangus certified bulls. 1 registered Brangus bull. 50
  crossbred heifers and 2 Brangus Bulls; along with replacements, accessions, substitutions and the progeny thereof as well as the proceeds from the
  sale of or disposition of said security.
  Together with all replacements and substitution thereof, and all improvements, betterments and accessories thereto, and all other equipment, parts,
  accessories, and attachments, now or hereafter installed in, affixed to or used in connection with said property, along with accessions and the progeny
  thereof as well as the proceeds from the sale of or disposition of said security.
  2. The proceeds of any personal property in which I have hereby granted you a security interest.
  3. The proceeds of any insurance required under and/or included in this loan. (Returned or unearned premiums are considered proceeds). All the
  above are called "Collateral" under the terms of the Security Agreement.
  4. If any security interest in personal property is granted, or retained, I waive the benefit of any personal property exemption as to such property.
  5. DEFAULT/REMEDIES. If I, or anyone do not pay you as promised or if you shall deem any indebtedness secured by this Security Agreement
  insecure or if you deem the Collateral insecure or in danger of misuse, then this Security Agreement at your election may be deemed breached and
  the full amount owed you secured by this Security Agreement, together with your expenses incurred in repossessing, storing or selling the Collateral,
  shall immediately become due and payable. In any such event you shall have all remedies of a Secured Party under the Uniform Commercial Code,
  including the right to take immediate possession of the Collateral without legal process and without demand, and for this purpose you may enter upon
  the premises where the collateral may be located and remove the Collateral without your action constituting a trespass. You may take possession of
  any other property contained in the Collateral at the time of repossession, and hold it temporarily for me without any responsibility or liability to me.
  I will notify you by registered or certified mail after any repossession and before sale of the Collateral if I claim that any articles of personal property
  not covered by this Security Agreement were repossessed. If I fail to do so, I will give up any claim for this property. You may require me to
  assemble and make the Collateral available to you at a place to be named by you, which is reasonably convenient to both of us. You shall give me
  reasonable notice of the time and place of any public sale of the Collateral or of the time after which any private sale or any other intended
  disposition of the Collateral is to be made. If you mail me, postage prepaid, notice addressed to me at the address shown on your records at least 5
  days prior to the sale or disposition, you shall have given me reasonable notice. You may become the purchaser of the Collateral at any public sale.
  If the proceeds of the sale are not sufficient to pay the obligations owed you, I shall pay the remaining amount unpaid with interest at the highest
  lawful rate allowed by the law, but no higher than the rate(s), including all default interest and penalties, stated on the face.
  6.1 authorize you to file a financing statement covering the property.


                                                         INTEREST RATE DISCLOSURE
    The following disclosure is made in accordance with Section 4.13(a) of the Farm Credit Act of 1971, as amended. The "effective rate" is not the same
    as the "Annual Percentage Rate" under Federal Truth-in-Lending.

                                                 STATED INTEREST RATE                                      EFFECTIVE INTEREST RATE*
                                    (The rate of interest currently applicable to your loan.)    (The stated rate of interest for your loan adjusted to
                                                                                                 take into account your required ownership of stock or
                                                                                                 participation certificates and origination charges.)**
If the loan has an interest
rate fixed for the life of the
loan.                                     %                                                            %


If loan is a variable/
      , ,,       .                        4.7300%                                                       5.0097%
adjustable rate loan.


   *This is a projection subject to change should particular loan provisions be modified during the term of the loan, such as the amount of stock or
   participation certificates or the timing of repayment. You will be notified 10 days prior to any increase in the effective rate due to a stock adjustment.
   You will be notified of any increase or decrease in the stated rate. Notice requirements are set by regulation and are subject to change in the future.
     ** Stock (or participation certificates) and origination charges total $1,250.00 and include the following:

        Stock $1,000.00, Association fee $250.00,
           This is an ADJUSTABLE RATE LOAN - the stated rate of interest is subject to change during the life of the loan and may be changed as
           follows:

         Interest rates on A D J U S T A B L E I N D E X E D I N T E R E S T R A T E L O A N S and payment amounts may change periodically based on
        the fluctuation in the index value. Unless fixed for a specific period of time initially (or unless limited by a cap or a floor), the
        interest rate will be based on an index rate plus a margin and may, as provided in the promissory note, increase or decrease monthly,
        if based on a U.S. Prime or LIBOR product, without limitation depending upon the movement of the index and may increase if
        there is an increase in the margin contained in the note. The interest rate will be rounded. Information about the indexes are
        published in the W A L L S T R E E T J O U R N A L . Written notices of interest rate changes will be provided no later than 45 days after
        the effective date of the change.

        Default: Where applicable, the stated interest rate m a y increase as a result of default. See your promissory note for more
        information.

        Association      Stock. Capital Stock or Participation Certificates purchased or held by member/borrowers is an at-risk investment.




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       Loan options: The lender offers loans with maturities not to exceed ten years (or 15 years for certain aquatic loans), with interest
       rates which are variable, adjustable, or which are fixed for certain specified periods and which may then, under certain conditions
       which may involve the payment of a fee, provide the borrower an opportunity to seek an additional fixed period or adjustable rate
       period. These interest rate conversion opportunities are subject to change or termination.
       See your contract documents for further information on loan terms and conditions.
       BORROWER RIGHTS:
       This loan is subject to the following Borrower Rights as set forth in the Farm Credit Act of 1971, as amended, 12 U.S.C.
       § 2199, et seq.
       Access to Documents (§2200). At closing, Borrower (or Borrower's agent, if applicable) shall receive copies of loan documents
       signed by Borrower. Upon request thereafter, Borrower is entitled to: (1) All documents signed or delivered by Borrower; and (2)
       copies of Creditor's charter and bylaws.
       Notice of Action on Application (§2201). Creditor shall provide prompt written notice of action taken on loan and restructure
       applications, including notice of a right to review if the loan or restructure application is denied or if the loan request is reduced.
       Credit Review Committee/Restructuring Distressed Loans (§2202 and §2202a-c). Borrower is entitled to the following: the right to
       a review by a Credit Review Committee of a denial of or a reduction in a loan request or a denial of a restructure request; the right
       to seek restructuring of a distressed loan; if principal indebtedness is forgiven as part of a restructure, Creditor must write off an
       equal dollar amount of stock obligation. See Creditor's Distressed Loan Restructuring Policy for a complete explanation of these
       rights, which policy is available upon request.
       Miscellaneous (§2202d, e). Creditor may not foreclose for failure to provide additional collateral if Borrower has made all accrued
       payments. Creditor may not require a reduction in outstanding principal balance which exceeds regularly scheduled principal
       installment except in limited circumstances. If Borrower pays all accrued payments, including penalties, Creditor may not
       accelerate loan based solely on Borrower's past untimely payments. If Creditor places borrower's loan in non-accrual status and this
       results in an adverse action to Borrower, Creditor shall notify borrower of the change in his/her status, which action may be subject
       to review. Creditor may not require a Borrower who has pledged agricultural property to waive any state mediation rights.
       Right of First Refusal (§2219a). When the Creditor first elects to sell or lease agricultural real property acquired by Creditor which
       was previously owned by Borrower, the Creditor must first notify the Borrower of his/her right to purchase or lease the property for
       a price or rental rate equal to its appraised fair market value or appraised fair rental value, as appropriate.
   If you have any questions concerning the foregoing information, please contact your loan office.


                                                         GENERAL CONDITIONS
DISBURSEMENT OF PROCEEDS
This Loan may be disbursed in 1 or more advances or disbursements by Lender check, draft or wire transfer under conditions established herein and
which are to be used for the purposes specified in the loan application.

AT-RISK STOCK/PARTICIPATION CERTIFICATES
As a condition to the Lender's Agreement to make the Loan, Borrower(s) agrees to purchase and pay for, or to the transfer of outstanding unretired stock
or participation certificates from prior or existing loans in, such amounts of the Lender's capital stock or participation certificates as are required by the
Lender's capitalization bylaws and capital plan. If the purchase price of stock or participation certificates is included in the principal balance of the Loan,
it shall bear interest as provided in the Note until paid. Borrower(s) further agrees and understands that such capital stock and participation certificates are
an at-risk investment and are subject to retirement at the discretion of the Lender's board of directors and may be retired only when the Lender meets the
minimum permanent capital standards prescribed by the Farm Credit Administration regulations.

FINANCIAL STATEMENTS
Current financial and income statements must be provided by Borrower(s) upon notification from the Lender.

FUNDS HELD/FUTURE PAYMENT FUND
Funds may be placed with the Lender under various advance conditional payment programs. These funds will earn interest at rates established by the
Lender, and may vary at its discretion.

INCORPORATION OF TERMS
The terms and conditions of this Approval Notice and Loan Agreement may be incorporated into the deed(s) of trust, mortgage(s), security agreement(s)
and other security documents taken by the Lender as collateral for the Loan. Any default in the terms and conditions of this Loan Agreement or
Borrower(s) failure to meet any condition(s) established herein shall constitute a default in the security documents.

FALSE STATEMENTS
It should be understood that the Lender reserves the right to decline the completion of this loan in the event that the information and representations in the
loan application be found to be false or materially misleading, should any other indebtedness of Borrower(s) be in default prior to closing or should any of
the conditions set out herein not be met. In such event, the Lender shall not be liable for any expenses or loss, whether real or consequential, incurred by
Borrower(s).

VARIABLE INTEREST RATE PERIOD
During any time period when the variable interest rate is chargeable, it shall be established by the Lender.

PRIVACY NOTICE
NOTICE: Farm Credit Administration (FCA) Regulations require the Lender and/or any agent to protect the confidentiality of all information regarding a
borrower's character, credit standing, and property. Accordingly, the Lender and/or any agent may not exhibit or quote your confidential information to
third parties except with your written consent or under other very limited circumstances set forth in the regulations. The regulations permit the Lender to
share your confidential information with Lender's affiliates/associations/entities for the purposes of extending credit, providing related services, or
collecting loans, and permit the Lender and/or any agent to provide loan pay-off information to bona fide third party lien-holders. These regulations also


Revised 09/24/13                                         Page 4 of 6
permit the Lender and/or any agent to release lists of borrowers to persons who deal in farm products or livestock for the purposes of complying with the
Food Security Act of 1985 and to release lists of stockholders to other stockholders for the purposes of communicating on matters relating to the business
operations of the Lender and/or any agent. The full text of the regulations may be found at Title 12, Part 618, Subpart G, Sections 618.8300-618.8330 of
the Code of Federal Regulations, which is accessible at the FCA web-site www.fca.gov. or is available from the Lender and/or any agent upon written
request.

TAXES
All taxes or other assessments on the property which are due and payable are to be paid at or prior to closing.

INSURANCE
If flood, fire and extended coverage, or other insurance is required to be maintained covering the insurable buildings specified, an acceptable policy
containing mortgagee clause in favor of the Lender as mortgagee is to be furnished. The amount of insurance required is the minimum amount set for
protection of the Lender. You may wish to carry additional insurance so as to have full protection.

BORROWER COSTS
The costs of abstracts, title examination, and/or title insurance, fire and extended coverage insurance, required environmental audits, if any, and recording
fees are to be paid by you. Closed loan fees payable by Borrower(s) will be financed unless otherwise requested by Borrower(s) and may be subject to
change.

ENVIRONMENTAL DISCLOSURE
By execution hereof, the Borrower(s) represent and warrant to Lender that Borrower(s) have made Lender aware of any contamination of, or of the
existence of any environmental hazards upon, the security for the loan of which they are aware.

SUBSEQUENT TRANSFER
Lender intends to retain ownership of the Loan, but in the event that Lender transfers the Loan to another holder that is not a F.C.S. institution, that holder
will be obligated by the agreement to accept the transfer of the Loan to abide by the same borrower rights provisions of the Farm Credit Act of 1971, as
amended, as a qualified lender is then obligated to provide under the Act, unless the borrower has consented to the sale and agreed to waive the borrower's
statutory borrower rights.

COPY OF APPRAISAL REPORT
You have the right to a copy of the appraisal report used in connection with your application for credit, if the collateral for the loan contains a dwelling. If
you wish a copy, please write to the Lender that processed your application. You have 90 days from the receipt of this notice to request a copy. You may
be required to pay for the cost of the report prior to receiving a copy. The Lender is also permitted to require reimbursement of photocopy and postage



TERRITORIAL CONCURRENCE
This Approval is subject to territorial concurrence, if necessary, from any and all relevant Farm Credit institutions.

SECURITY:
It is understood that any security must be of a value to support this loan.
Unless otherwise agreed to by Lender in writing, Borrower agrees to promptly account for and pay to Lender all of the proceeds of any disposition of
collateral securing the loan, which proceeds shall be subject to application to the Loan in Lender's sole discretion. Failure of Borrower to pay and account
for proceeds of such disposition of collateral shall constitute a default under this Approval Notice and Loan Agreement, the Note and the Loan
Documents.

This loan is cross-defaulted with any and all other loan(s) Borrower has with Lender or the Lender's affiliate(s).

WAIVER OF TRIAL BY JURY
THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER THE LOAN DOCUMENTS
HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE LENDER/SECURED PARTY BY ITS ACCEPTANCE OF THE
PROMISSORY NOTE AND THE SECURITY AGREEMENT/DEED OF TRUST/MORTGAGE AND OTHER LOAN DOCUMENTS
IRREVOCABLY AND UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION, SUIT OR
COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING TO THE PROMISSORY NOTE, THE SECURITY
AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE OR ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS
THEREUNDER. ALL OF THE AFORESAID PARTIES SHALL HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS
WAIVER IS KNOWINGLY, WILLINGLY AND VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL AWARENESSOF THE
LEGAL CONSEQUENCES OF IT, AND THE PARTIES HERETO HEREBY REPRESENT THAT NO REPRESENTATIONS OF FACT OR
OPINION HAVE BEEN MADE BY ANY PERSON OR ENTITY TO INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY
MODIFY OR NULLIFY ITS EFFECT. THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS SECTION IN ANY PROCEEDING AS
CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH PARTY HERETO FURTHER REPRESENTS AND WARRANTS THAT IT
HAS BEEN REPRESENTED IN THE SIGNING OF THIS AGREEMENT AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL
COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED BY INDEPENDENT LEGAL COUNSEL SELECTED OF ITS OWN
FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO SO.


SPECIAL PROVISIONS: THIS LOAN APPROVAL NOTICE AND LOAN AGREEMENT IS ALSO SUBJECT TO THE GENERAL CONDITIONS
INCLUDED HEREWITH AND THE REPRESENTATIONS CONTAINED IN YOUR APPLICATION FOR THE LOAN. THIS LOAN APPROVAL
NOTICE AND LOAN AGREEMENT TAKES THE PLACE OF ANY PREVIOUS NOTICE THAT MAY HAVE BEEN ISSUED.

ACCEPTED AND AGREED: The undersigned hereby agree(s) to and is bound by the terms and conditions of this Approval Notice and Loan Agreement,
the Promissory Note, the Security Agreement and the Disclosure(s) as contained herein and acknowledge(s) receipt thereof. (All parties who sign the note
and/or collateral documents will be required to sign this Approval Notice and Loan Agreement at closing.) The undersigned hereby acknowledge(s)
receipt of a copy of this statement.



Revised 09/24/13                                         Page 5 of 6
THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY NOT BE
CONTRADICTED BY EVIDENCE OF PRIOR CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE
ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.


EXECUTED this the 7th day of May, 2015.




Big Racques Ranches, LLC

By:_
   Randy Balderas. Managing l^nber




Randy Baldt5ras




 Revised 09/24/13                         Page 6 o f 6
                    EXHIBIT B




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                                                  PROMISSORY NOTE
                                                    AMENDMENT


Loan:              268100259
Name:              Big Racques Ranches, LLC
Association:       Capital Farm Credit, PCA
Credit Office:     San Antonio


On the 28th day of May, 2015, Big Racques Ranches, LLC and Randy Balderas executed a promissory note ("Note")
in the original principal sum of $150,000.00 payable to the order of Capital Farm Credit, PCA or one of its
predecessors ("Lender"); and


An error was made in the stating of the Accrual Method, and it is the mutual desire of all parties at interest that said
error be corrected.


In consideration of the premises and the benefits arising thereunder, the undersigned parties agree that the Accrual
Method in the Note shall be corrected to state:


        ACCRUAL METHOD: Interest will be calculated on an Actual 365/366 basis.



All of the terms and provisions of the Note shall remain in full force and effect, except as expressly modified in this
Amendment. The execution of this Amendment shall not in any way change, alter, or waive any of the rights granted
to the Lender by the Note. All security instruments and loan agreements given by the Borrowers shall remain the
same and be subject to the same terms, covenants, and conditions as therein agreed, subject only to the amendment as
herein provided.      This Amendment does not in any way constitute payment of any prior obligation owed by the
Borrowers to Lender and shall be attached to the Note evidencing the obligation.


Dated this               day of Af?r/                , 2016.




Big Racqjies-fetrtcbes,.


                                                                                   By:
                 alderas, Managi         Member                                          fiferemy LfcMlroot
                                                                                         VP Relationship Manager




Randy Balderas




Note Amendment (Rev. 5-09) LPD
                    EXHIBIT C




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                                                                                          Loan No.268100251.


   DEBTOR NAME AND ADDRESS                                                                SECURED PARTY NAME AND ADDRESS


   Big Racques Ranches, LLC, 748 E Hinds, Charlotte, TX 78011;                            Capital Farm Credit, PCA whose address is
   Randy Balderas, PO Box 891, Charlotte, TX 78011                                        3000 Briarcrest Dr. Suite 601, Bryan, TX 77802




    Type:           individual              decedent estate partnership            corporation         limited partnership    limited liability company
                    trust                  limited liability partnership       State of organization/registration (if applicable) TX
          If checked, refer to addendum for additional Debtors and signatures.
                                                                              Loan No.:        268100259


                                                         COMMERCIAL SECURITY AGREEMENT

 The date of this Commercial Security Agreement (Agreement) is E> [Z&i I ">                                .
  SECURED DEBTS.                          This Agreement will secure all sums advanced by Secured Party under the terms of this Agreement and
          payment and performance of the following described Secured Debts owed to Secured Party by: Randv Balderas, Big Racques
          Ranches. LLC.

                 Specific Debts. The following debts and all extensions, renewals, refinancings, modifications, and replacements
                 (describe):



                             All Debts. All present and future debts, regardless of whether this Agreement is referenced, such debts are secured
                             by other collateral, or whether the future debt is unrelated to or of a different type than the current debt, and
                             including those debts owed by Debtor or Borrower to any of Secured Party's affiliated or subsidiary institutions,
                             including but not limited to Capital Farm Credit, ACA and/or to Capital Farm Credit, FLCA, or their respective
                             successors or assigns. Any lien created hereby for an Affiliate or subsidiary shall be inferior and secondary to the
                             lien created in favor of Secured Party. Secured Party and/or its Affiliates or subsidiaries may make future advances
                             to Debtor or Borrower and/or may transfer the debt instruments from one Affiliate or subsidiary to another and this
                             Security Agreement shall farther secure the payment to Secured Party or to Affiliates or subsidiaries of all such
                             future advances. Nothing in this Agreement is a commitment to make future loans or advances.

 SECURITY INTEREST.                  To secure the payment and performance of the Secured Debts, Debtor gives Secured Party a security
          interest in all of the Property described in this Agreement that Debtor owns or has sufficient rights in which to transfer an
          interest, now or in the future, wherever the Property is or will be located, and all proceeds and products of the Property.
          "Property" includes all parts, accessories, repairs, replacements, improvements, and accessions to the Property; and original
         evidence of title or ownership; and all obligations that support the payment or performance of the Property. "Proceeds" includes
         anything acquired upon the sale, lease, license, exchange, or other disposition of the Property; any rights and claims arising from
         the Property; and any collections and distributions on account of the Property. This Agreement remains in effect until terminated
         in writing, even if the Secured Debts are paid and Secured Party is no longer obligated to advance funds to Debtor or Borrower.

        Debtor expressly acknowledges a purchase money security interest in the Property as security for the Secured Debts secured by
         this security agreement, which represents funds advanced by Secured Party at Debtor's request and used in the payment of the
         purchase price of the Property.

 PROPERTY DESCRIPTION.                  All of Debtor's interest in stock, participation certificates and/or other equity interests in Secured
         Party, including but not limited to all Debtor's interest in dividends, whether paid in cash or in stock or participation certificates,
         and in all allocated surplus or allocated equity in Secured Party, including but not limited to exchanged or converted equity, and
         all proceeds thereof to which Debtor may be entitled to receive on account of said property.

         All livestock now owned and hereafter acquired but not limited to: 13 Black Motley cross-bred heifers, 17 Brangus cross-bred
         heifers, 20 Black Motley and Brangus cross-bred exposed heifers, 3 Brangus certified bulls , 1 registered Brangus bull, 50
         crossbred heifers and 2 Brangus Bulls.


          1 Zimmatic, Z Tech non tow pivot system, 742' long, 3-179' spans, 1-157'span, 6 5/8" pipe, 8500P Series, SN# LD3680, 1
         Zimmatic, Z Tech non tow pivot system, 450' long, 2-179' spans, 6 5/8" pipe, 8500P Series, SN# LD3679, 1 Zimmatic, Z Tech
         non tow pivot system, 2 Towers, 494' long, 2-201' spans, 6 5/8" pipe, 8500P Series, SN# LD4454 .


         This loan is Cross-collateralized with Loan No. 268100259




FCB3127 (Rev. 8/11)
                                                                           Page 1 of 4 pages
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                                                                                                   Loan No.268100259


 GENERAL PROVISIONS. Each debtor's obligations under this Agreement                             INSURANCE. Debtor agrees to keep the Property insured against the risks
 are independent of the obligations of any other Debtor. Secured Party may sue                  reasonably associated with the Property until the Property is released from this
 each Debtor individually or together with any other Debtor. Secured Party may                  Agreement. Debtor will maintain this insurance in the amounts Secured Party
 release any part of the Property and Debtor will remain obligated under this                   requires. Debtor may choose the insurance company, subject to Secured Party's
 Agreement The duties and benefits of this Agreement will bind the successors                   approval, which will not be unreasonably withheld. Debtor will have die
 and assigns of Debtor and Secured Party. No modification of this Agreement is                  insurance provider name Secured Party as loss payee on the insurance policy.
 effective unless made in writing and signed by Debtor and Secured Party.                       Debtor will give Secured Party and the insurance provider immediate notice of
 Whenever used, the plural includes the singular and the singular includes the                  any loss. Secured Party may apply the insurance proceeds toward the Secured
 plural. Time is of the essence.                                                                Debts. Secured Party may require additional security as a condition of permitting
                                                                                                any insurance proceeds to be used to repair or replace the Property. If Secured
 APPLICABLE LAW. This Agreement is governed by the laws of the state in
                                                                                                Party acquires the Property in damaged condition, Debtor's rights to any
 which Secured Party is located. In the event of a dispute, the exclusive forum,
                                                                                                insurance policies and proceeds will pass to Secured Party to the extent of the
 venue, and place of jurisdiction will be the state in which Secured Party is
                                                                                                Secured Debts. Debtor will immediately notify Secured Party of the cancellation
 located, unless otherwise required by law. If any provision of this Agreement is
                                                                                                or termination of insurance.
 unenforceable by law, the unenforceable provision will be severed and the-
 remaining provisions will still be enforceable.                                                 AUTHORITY TO PERFORM.                   Debtor authorizes Secured Party to do
                                                                                                 anything Secured Party deems reasonably necessary to protect the Property and
 NAME AND LOCATION. Debtor's name indicated on page 1 is Debtor's
                                                                                                 Secured Party's interest in the Property. If Debtor fails to perform any of Debtor's
 exact legal name. If Debtor is an individual, Debtor's address is Debtor's
                                                                                                 duties under this Agreement, Secured Party is authorized, without notice to
 principal residence. If Debtor is not an individual, Debtor's address is the
                                                                                                 Debtor,  to perform the duties or cause them to be performed. These
 location of Debtor's chief executive offices or sole place of business. If Debtor
                                                                                                 authorizations include, but are not limited to, permission to pay for the repair,
 is an entity organized and registered under state law, Debtor has provided
                                                                                                 maintenance, and preservation of the Property and take any action to realize the
 Debtor's state of registration on page 1. Debtor will provide verification of
                                                                                                 value of the Property. Secured Party's authority to perform for Debtor does not
 registration and location upon Secured Party's request. Debtor will provide
                                                                                                 create an obligation to perform, and Secured Party's failure to perform will not
 Secured Party with at least 30 days notice prior to any change in Debtor's name,
                                                                                                 preclude Secured Party from exercising any other rights under the law or this
 address, or state of organization or registration.
                                                                                                 AgreemenL
 WARRANTIES AND REPRESENTATIONS.                         Debtor has the right,
                                                                                                 If Secured Party performs for Debtor, Secured Party will use reasonable care.
 authority, and power to enter into this Agreement. The execution and delivery of
                                                                                                 Reasonable care will not include any steps necessary to preserve rights against
 this Agreement will not violate any agreement governing Debtor or Debtor's
                                                                                                 prior parties or any duty to take action in connection with the management of the
 property, or to which Debtor is a party. Debtor makes the following warranties
                                                                                                 Property.
 and representations which continue as long as this Agreement is in effect:
 (1) Debtor is duly organized and validly existing in all jurisdictions in which                 If Secured Party comes into possession of the Property, Secured Party will
        Debtor does business:                                                                    preserve and protect the Property to the extent required by law. Secured Party's
                                                                                                 duty of care with respect to the Property will be satisfied if Secured Party
 (2)    the execution and performance of the terms of this Agreement have been
                                                                                                 exercises reasonable care in the safekeeping of the Property or in the selection of
        duly authorized, have received all necessary governmental approval, and
                                                                                                 a third party in possession of the Property.
        will not violate any provision of law or order,
 (3)    other than previously disclosed to Secured Party, Debtor has not changed                 Secured Party may enforce the obligations of an account debtor or other person
        Debtor's name or principal place of business within the last 10 years and               obligated on the Property. Secured Party may exercise Debtor's rights with
        has not used any other trade or fictitious name; and                                    respect to the account debtor's or other person's obligations to make payment or
                                                                                                otherwise render performance to Debtor, and enforce any security interest that
 (4)    debtor does not and will not use any other name without Secured Party's
                                                                                                secures such obligations.
        prior written consent.
                                                                                                PURCHASE MONEY SECURITY INTEREST. If the Property includes
 Debtor owns all of the Property, and Secured Party's claim to the Property is
                                                                                                items purchased with the Secured Debts, the Property purchased with the Secured
 ahead of the claims of any other creditor, except as otherwise agreed and
 disclosed to Secured Party prior to any advance on the Secured Debts. The                      Debts will remain subject to Secured Party's security interest until the Secured
 Property has not been used for any purpose that would violate any laws or                      Debts are paid in foil. Payments on any non-purchase money loan also secured by
                                                                                                this Agreement will not be applied to the purchase money loan. Payments on the
 subject the Property to forfeiture or seizure.
                                                                                                purchase money loan will be applied first to the non-purchase money portion of
 DUTIES TOWARD PROPERTY.                              Debtor will protect the Property and      the loan, if any, and then to the purchase money portion in the order in which the
 Secured Party's interest against any competing claim. Except as otherwise
                                                                                                purchase money Property was acquired. If the purchase money Property was
 agreed, Debtor will keep the Property in Debtor's possession at the address
                                                                                                acquired at the same time, payments will he applied in the order Secured Party
 indicated on page 1 of this Agreement. Debtor will keep the Property in good
                                                                                                selects. No security interest will be terminated by application of this formula.
 repair and use the Property only for purposes specified on page 1. Debtor will
 not use the Property in violation of any law and will pay all taxes and                        DEFAULT.         Debtor will b e in default if:
 assessments levied or assessed against the Property. Secured Party has the right                (1)    Debtor (or Borrower, if not the same) fails to make a payment in fell when
 of reasonable access to inspect the Property, including the right to require                           due;
 Debtor to assemble and make the Property available to Secured Party. Debtor                     (2)    Debtor fails to perform any condition or keep any covenant on this or any
 will immediately notify Secured Party of any loss or damage to the Property.                           debt or agreement Debtor has with Secured Party;
 Debtor will prepare and keep books, records, and accounts about the Property                    (3)    a default occurs under the terms of any instrument or agreement evidencing
 and Debtor's business, to which Debtor will allow Secured Party reasonable                             or pertaining to the Secured Debts.
 access.                                                                                         (4)    anything else happens that either causes Secured Party to reasonably believe
 Debtor will not sell, offer to sell, license, lease, or otherwise transfer or                          that Secured Party will have difficulty in collecting the Secured Debts or
 encumber the Property without Secured Party's prior written consent. Any                               significantly impairs the value of the Property.
 disposition of the Property will violate Secured Party's rights, unless the                    REMEDIES.         After Debtor defaults, and after Secured Party gives any legally
Property is inventory sold in the ordinary course of business at fair market value.             required notice and opportunity to cure the default, Secured Party may at Secured
If the Property includes chattel paper or instruments, either as original collateral            Party's option do any one or more of the following:
or as proceeds of the Property, Debtor will record Secured Party's interest on the
                                                                                                (1)     make all or any part of the Secured Debts immediately due and accrue
face of the chattel paper or instruments.                                                               interest at the highest post-maturity interest rate;
If the Property includes accounts, Debtor will not settle any account for less than             (2)     require Debtor to gather the Property and make it available to Secured Party
the full value, dispose of the accounts by assignment, or make any material                             in a reasonable fashion;
change in the terms of any account without Secured Party's prior written
                                                                                                (3)     enter upon Debtor's premises and take possession of all or any part of
consent Debtor will collect all accounts in the ordinary course of business,
                                                                                                        Debtor's property for purposes of preserving the Property or its value and
unless otherwise required by Secured Party. Debtor will keep the proceeds of the                        use and operate Debtor's property to protect Secured Party's interest, all
accounts, and any goods returned to Debtor, in trust for Secured Party and will
                                                                                                        without payment or compensation to Debtor;
not commingle the proceeds or returned goods with any of Debtor's other
                                                                                                (4)     use any remedy allowed by state or federal law, or provided in any
property. Secured Party has the right to require Debtor to pay Secured Party the
                                                                                                        agreement evidencing or pertaining to the Secured Debts.
full price on any returned items. Secured Party may require account debtors to
make payments under the accounts directly to Secured Party. Debtor will deliver                 If Secured Party repossesses the Property or enforces the obligations of an
the accounts to Secured Party at Secured Party's request. Debtor will give                      account debtor, Secured Party may keep or dispose of the Property as provided by
Secured Party all statements, reports, certificates, lists of account debtors                   law. Secured Party will apply the proceeds of any collection or disposition first to
(showing names, addresses, and amounts owing), invoices applicable to each                      Secured Party's expenses of enforcement, which includes reasonable attorney's
account, and any other data pertaining to the accounts as Secured Party requests.               fees and legal expenses to the extent not prohibited by law, and then to the
                                                                                                Secured Debts. Debtor (or Borrower, if not the same) will be liable for the
If the Property includes farm products, Debtor will provide Secured Party with a
                                                                                                deficiency, if any.
list of the buyers, commission merchants, and selling agents to or through whom
Debtor may sell the farm products and Debtor consents to the use of Debtor's                    By choosing any one or more of these remedies, Secured Party does not give up
Social Security or Tax Identification Number when notice of Secured Party's                     the right to use any other remedy. Secured Party does not waive a default by not
security interest is given to them. Debtor authorizes Secured Party to notify any               using a remedy.
additional parties regarding Secured Party's interest in Debtor's farm products,                WAIVER. Debtor waives all claims for damages caused by Secured Party's acts
unless prohibited by law. Debtor agrees to plant, cultivate, and harvest crops in               or omissions where Secured Party acts in good faith.
due season. Debtor will be in default if any loan proceeds are used for a purpose               NOTICE AND ADDITIONAL DOCUMENTS.                        Where notice is required,
that will contribute to excessive erosion of highly erodible land or to the                     Debtor agrees that 10 days prior written notice will be reasonable notice to
conversion of wetland to produce or to make possible the production of an                       Debtor under the Uniform Commercial Code. Notice to one party is notice to all
agricultural commodity, further explained in 7 CFR Part 1940, Subpart G,                        parties. Debtor agrees to sign, deliver, and file any additional documents and
Exhibit M.                                                                                      certifications Secured Party considers necessary to perfect, continue, or preserve
If Debtor pledges the Property to Secured Party (delivers the Property into the                 Debtor's obligations tinder this Agreement and to confirm Secured Party's lien
possession or control of Secured Party or a designated third party), Debtor will,               status on Property
upon receipt, deliver any proceeds and products of the Property to Secured
Party. Debtor will provide Secured Party with any notices, documents, financial
statements, reports, and other information relating to the Property Debtor
receives as the owner of the Property.
PERFECTION OF SECURITY INTEREST. Debtor authorizes Secured
Party to file a financing statement covering the Property or, if applicable, one or
more amendments to existing financing statements adding the Property and/or

additional Debtors. Debtor will comply with, facilitate, and otherwise assist
Secured Party in connection with obtaining possession or control over the
Property for purposes of perfecting Secured Party's interest under the Uniform
Commercial Code.

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                                                                             Loan No.:         268100259
                                                                             Borrower:         Big Racques Ranches, LLC
                                                                             Assn:             Capital Farm Credit, PCA
                                                                             Branch:           San Antonio




           WATVER OF TRIAL BY JURY
          THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER
          THE LOAN DOCUMENTS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE
          LENDER/SECURED PARTY BY ITS ACCEPTANCE OF THE PROMISSORY NOTE AND THE SECURITY
          AGREEMENT/DEED OF TRUST/MORTGAGE AND OTHER LOAN DOCUMENTS IRREVOCABLY AND
          UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION, SUIT OR
          COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING TO THE
          PROMISSORY NOTE, THE SECURITY AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE
          OR ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS THEREUNDER. ALL OF THE AFORESAID
          PARTIES SHALL HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS WAIVER IS
          KNOWINGLY, WILLINGLY AND VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL
          AWARENESSOF THE LEGAL CONSEQUENCES OF IT, AND THE PARTIES HERETO HEREBY REPRESENT
          THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY PERSON OR ENTITY TO
          INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT. THIS
          PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
          AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS
          SECTION IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH
          PARTY HERETO FURTHER REPRESENTS AND WARRANTS THAT IT HAS BEEN REPRESENTED IN THE
          SIGNING OF THIS AGREEMENT AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL
          COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED BY INDEPENDENT LEGAL COUNSEL
           SELECTED OF ITS OWN FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO SO.

          COLLATERAL PROTECTION INSURANCE NOTICE
          As part of this Agreement, Debtor gives Secured Party a security interest in the Property described on page 1. Debtor is required
          to maintain insurance on the Property in an amount Secured Party specifies, subject to applicable law. Debtor agrees to purchase
          the insurance from an insurer authorized to do business in Texas or an eligible surplus lines insurer to the extent permitted by
          law. Debtor will name Secured Party as loss payee on the insurance policy. Debtor may be required to deliver a copy of the
          property insurance policy and proof of payment of premiums to Secured Party. If Debtor fails to meet any of these requirements,
          Secured Party may obtain collateral protection insurance on Debtor's behalf. Secured Party is not required to purchase any type
          or amount of insurance. Secured Party may obtain replacement cost insurance if authorized under applicable law, subject to
          policy limits. If Secured Party purchases insurance for the Property, Debtor will be responsible for the cost of that insurance, -
           including interest and any other charges incurred by Secured Party in connection with the placement of collateral protection
          insurance to the extent permitted by law. Debtor understands that insurance obtained by Secured Party may cost significantly
          greater than the cost of insurance Debtor could have obtained. Amounts that Debtor owes are due and payable upon demand or
          on such other terms as Secured Party requires to the extent permitted by law.


THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN PARTIES.




               Specific Property Description.              The Property includes, but is not limited by, the following (if required, provide real estate
               description):




USE OF PROPERTY.                          The Property will be used for

                                                personal      business     £3 agricultural             other purposes; specify:

      Signatures.            Debtor agrees to the terms on pages 1, 2, and 3 of this Agreement and acknowledges receipt of a copy of this
                             Agreement.




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                                                                     Loan No.:         268100259
                                                                     B orrower:        Big Racques Ranches, LLC
                                                                     Assn:             Capital Farm Credit, PCA
                                                                     Branch:           San Antonio


                                                 DEBTOR



                  Big Racqne:                   les^LLC


                  By:
                        R ^d^SafSeiras^maging             Member




                          tyT3Hd(




               Capital Farm Credit, PCA

               NMLS ID: 493828

               Mark Sloan

               NMLS ID: 612386




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                    EXHIBIT D




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                                                                                                              N+O+T+ET+E+R+M%G224639
                                                                                                                  N                                 m           2   2   4   6   3   9




                                                                        Promissory Note
 Big Racques Ranches, LLC, PO Box 891, Charlotte,                Capital Farm Credit, PCA whose address is                        Loan Number 268100262
 TX, 78011                                                       3000 Briarcrest Dr. Suite 601
                                                                                                                                  Date                  06/24/2015
 Randy Balderas PO Box 891, Charlotte, TX, 78011                 Bryan, TX 77802
                                                                                                                                  Maturity Date 07/01/2020

                                                                                                                                  Loan Amount $165,600.00
         BORROWER'S NAME AND ADDRESS                                        LENDER'S NAME AND ADDRESS
                                                                                                                                  Renewal Of
      "I", whether individually, or jointly and severally,            "You" means the lender, its successors and assigns.
             includes any and all of the undersigned.



For value received, I, whether individually, or jointly and severally, promise to pay to you, or your order, at your address listed above the
PRINCIPAL sum of One Hundred Sixty Five Thousand Six Hundred And Zero/100 Dollars $( 165.600.00L

1^1    Single Advance: No additional advances are contemplated under this note.
       Multiple Advance:        The Principal sum shown above is the maximum amount of principal I can borrow under this note. I will receive an initial
advance in the amount of $                        and future principal advances are contemplated.



              Open End Credit: You and I agree that I may borrow up to the maximum amount of principal more than one time. This feature is subject to all
              other conditions and expires on

       l~l    Closed End Credit: You and I agree that I may borrow up to the maximum only one time (and subject to all other conditions).

INTEREST:           I agree to pay interest on the outstanding principal balance from the date principal is advanced until paid at the rate or rates herein provided.

       The initial rate of interest payable on this note shall be 4.7300 percent per annum. Following closing and beginning on the first day of every successive
       calendar month thereafter (the "Interest Rate Change Date") until maturity the interest rate shall be 454.0000 basis points (4.54 percentage points) above
       (the "Margin") the One-Month London Interbank Offered Rate ("LIBOR") as quoted in the "Money Rates" section of the Wall Street Journal on the last
       business day of the prior month and rounded to the nearest basis point (0.01 percentage points) (the "Index"). The interest rate will change during the
       term of the loan until maturity on each Interest Rate Change Date if there is a change in the Index. In the event the Wall Street Journal or the LIBOR
       interest rate is no longer available as a source for the Index the Lender may select another source of comparable information in its sole discretion. The
       rate shall not exceed the maximum lawful rate applicable to the holder.

ACCRUAL METHOD:                 Interest will be calculated on a Actual 365/366 basis.

POST MATURITY RATE:                  I agree to pay interest on the unpaid balance of this note owing after maturity, and until paid in full, as stated below:

              on the same fixed or variable rate basis in effect before maturity (as indicated above).


       Kl at a rate equal to the rate of interest applicable to this note on the date of maturity plus an additional four percent (4.000 %) per annum.

PAYMENT:            I agree to pay this note as follows:

The indebtedness shall be payable in Five ( 5 ) Annual installments beginning on July 01. 2016 and thereafter on the first day of each July of each calendar
year until the Maturity Date when the indebtedness, both principal and interest, must be fully paid.

              Interest only payment(s) shall be payable on the installment due date(s).
       After the initial payment of interest only (if applicable), this note shall be payable:

              R1    in successive equal installments of principal and interest in an amount sufficient to amortize the indebtedness over
                    the term of the loan, the amount being subject to adjustment to reflect any increase or decrease in the interest rate, if applicable.
              f~l   in successive installments of principal in the amount of $ plus accrued interest on the unpaid principal balance.

I understand and agree that the first installment will include all interest accrued on the unpaid principal balance from the date principal is first advanced.




DEFAULT INTEREST:            Prior to maturity of this note, any amount owing under this note which is not paid when due, and any advance made by the holder
of this note pursuant to any of the Loan Documents, shall bear interest at a default rate equal to the rate in effect at the time repayment of such amount or
advance is received by the holder of this note plus an additional four percent (4.000 %) per annum. Any such amount or advance which is not paid prior to
maturity of this note shall bear interest at a default rate equal to the rate of interest applicable on the date of maturity plus an additional four percent (4.000
%) per annum from the date such amount is due or such advance is made, and such amount or advance plus accrued default interest thereon shall be added to
the unpaid principal at maturity. Notwithstanding the foregoing, if the holder of this note is not a Farm Credit System Institution, then the default rate shall
be limited so that it shall not exceed a rate that will result in an effective yield in excess of the maximum lawful rate. If any amount owed under this note or
the loan documents is not paid when due, the holder shall be entitled to collect default interest from the date(s) of default in an amount produced by applying
the applicable default interest rate as set out above to the amount in default. If said default(s) is not cured within fifteen (15) days of the occurrence of such
default(s), the holder shall be entitled to collect an additional default interest charge of $25.00.




NOTETERM Rev.7/14                                                             Page 1 of 4 Pages                                   Portions Copyrighted ©2005 by Bankers Systems, Inc.
                                                                                                                 Loan Now 268 1 00262


DEFINITIONS: As used on page l,'"x" means the terms that apply to this loan. "I,"             REAL ESTATE OR RESIDENCE SECURITY: If this note is secured by
"me" or "my" means each Borrower who signs this note and each other person or legal           real estate or a residence that is personal property, the existence of a default and your
entity (including guarantors, endorsers, and sureties) who agrees to pay this note            remedies for such a default will be determined by applicable law, by the terms of any
(together referred to as "us"). "You" or "your" means the Lender and its successors           separate instrument creating the security interest and, to the extent not prohibited by
and assigns. "Affiliate" means any lending organization that wholly owns Lender               law and not contrary to the terms of the separate security instrument, by the "Default"
("Parent") and any lending organization that is wholly owned by Parent.                       and "Remedies" paragraphs herein.

APPLICABLE LAW: The law of the state of Texas will govern this note. Any                      DEFAULT: I will be in default if any one or more of the following occur: (1) I fail
term of this note which is contrary to applicable law will not be effective, unless the       to make a payment on time or in the amount due; (2) I fail to keep the property
law permits you and me to agree to such a variation. If any provision of this agreement       insured, if required; (3) I fail to pay, or keep any promise, on any debt or agreement I
cannot be enforced according to its terms, this fact will not affect the enforceability of    have with you or with any of your Affiliates; (4) any other creditor of mine attempts to
the remainder of this agreement. No modification of this note or any agreement                collect any debt I owe him through court proceedings; (5) I die, am declared
securing this note is effective unless the modification is in writing and signed by you       incompetent, make an assignment for the benefit of creditors, or become insolvent
and me. Time is of the essence in this agreement.                                             (either because my liabilities exceed my assets or I am unable to pay my debts as they
                                                                                              become due); (6) I make any written statement or provide any financial information
PAYMENTS: Each payment I make on this note shall be applied by holder to such
                                                                                              that is untrue or inaccurate at the time it was provided; (7) I do or fail to do something
part of the indebtedness as holder may elect. If you and I agree to a different
                                                                                              which causes you to believe that you will have difficulty collecting the amount I owe
application of payments, we will describe our agreement on this note or by written
                                                                                              you; (8) any collateral securing this note is used in a manner or for a purpose which
agreement. I may prepay a part of, or the entire balance of this loan without penalty,
                                                                                              threatens confiscation by a legal authority; (9) I change my name or assume an
unless we specify to the contrary on this note. Any partial prepayment will not excuse
                                                                                              additional name without first notifying you before making such a change; (10) I fail to
or reduce any later scheduled payment until this note is paid in full (unless, when I
                                                                                              operate in a husbandlike manner; or (1 1) if the Farm Service Agency either guarantees
make the prepayment, you and I agree in writing to the contrary). Acceptance of one
                                                                                              this note or has a junior lien on collateral securing this note, and the loan proceeds are
or more late or partial payments shall not constitute a waiver of any default nor of
                                                                                              used for a purpose that will contribute to excessive erosion of highly erodible land or
holder's right to receive timely payment. Acceptance of any partial payment after
                                                                                              to the conversion of wetlands to produce or to make possible the production of an
default and acceleration shall not constitute a reinstatement of the pre-acceleration
                                                                                              agricultural commodity, as further explained in 7 C.F.R. Part 1940, Subpart G, Exhibit
payment schedule, nor shall it impair any of the holder's rights or remedies or
                                                                                              M. ( In the event that and so long as the note is guaranteed by the Farm Service
prejudice any of the holder's other rights.
                                                                                              Agency, Default provision 11 shall apply regardless of any provision(s) to the contrary
INTEREST: Interest accrues on the principal remaining unpaid from time to time,               in any renewal, extension, modification or readjustment of payments.)
until paid in full. If I receive the principal in more than one advance, each advance
                                                                                              REMEDIES: If I am in default on this note you have, but are not limited to, the
will start to earn interest only when I receive the advance. The interest rate in effect on
                                                                                              following remedies:
this note at any given time will apply to the entire principal advanced at that time. You
and I may provide in this agreement for accrued interest not paid when due to be                      (1)   You may demand immediate payment of all I owe you under this note
added to principal. Notwithstanding anything to the contrary, I do not agree to pay and                     (principal, accrued unpaid interest and other accrued charges).
you do not intend to charge any rate of interest that is higher than the maximum rate of              (2)   You may set off this debt against any right I have to the payment of money
interest you could charge under applicable law for the extension of credit that is                          from you, subject to the terms of the "Set-off" paragraph herein.
agreed to here (either before or after maturity). If any notice of interest accrual is sent
                                                                                                      (3)   You may demand security, additional security, or additional parties to be
and is in error, we mutually agree to correct it, and if you actually collect more interest
                                                                                                            obligated to pay this note as a condition for not using any other remedy.
than allowed by law and this agreement, you agree to refund it to me.
                                                                                                      (4)   You may refuse to make advances to me.
INDEX RATE: If the interest is based upon an Index, the index will serve only as a
device for setting the rate on this note. You do not guarantee by selecting this index, or            (5)   You may use any remedy you have under state or federal law.
the margin, that the rate on this note will be the same rate you charge on any other          By selecting any one or more of these remedies you do not give up your right to later
loans or class of loans to me or other borrowers.                                             use any other remedy. By waiving your right to declare any event to be a default, you
                                                                                              do not waive your right to later consider the event as a default if it continues or
ACCRUAL METHOD: The amount of interest that I will pay on this loan will be
                                                                                              happens again.
calculated using the interest rate and accrual method stated on page 1 of this note. For
the purpose of interest calculation, the accrual method will determine the number of          COLLECTION COSTS AND ATTORNEY'S FEES: I agree to pay all costs
days in a "year." If no accrual method is stated, then you may use any reasonable             of collection, replevin or any other or similar type of cost if I am in default. In
accrual method for calculating interest.                                                      addition, if you hire an attorney (salaried, corporate, or other attorney) to collect this
                                                                                              note, I also agree to pay any fee you incur with such attorney plus court costs (except
POST MATURITY RATE: For purposes of deciding when the "Post Maturity
                                                                                              where prohibited by law). To the extent permitted by the United States Bankruptcy
Rate" (shown on page 1) applies, the term "maturity" means the date of the last
                                                                                              Code, I also agree to pay the reasonable attorney's fees and costs you incur to collect
scheduled payment indicated on page 1 of this note or the date you accelerate payment
on the note, whichever is earlier.
                                                                                              this debt as awarded by any court exercising jurisdiction under the Bankruptcy Code.

                                                                                              WAIVER: I give up my rights to require you to do certain things. I will not require
SINGLE ADVANCE LOANS: If this is a single advance loan, you and I expect
                                                                                              you to:
that you will make only one advance of principal. However, you may add other
amounts to the principal if you make any payments described in the "PAYMENTS BY                       (1)   demand payment of amounts due (presentment);
LENDER" paragraph below, or if we have agreed that accrued interest not paid when
                                                                                                      (2)   obtain official certification of nonpayment (protest);
due may be added to principal.
                                                                                                      (3)   give notice that amounts due have not been paid (notice of dishonor);
MULTIPLE ADVANCE LOANS: If this is a multiple advance loan, you and I
                                                                                                      (4)   give notice of intention to accelerate and notice of acceleration; or
expect that you will make more than one advance of principal. If this is closed end
credit, repaying a part of the principal will not entitle me to additional credit.                    (5)   exercise diligence in collection, grace, notice and notice of protest.

PAYMENTS BY LENDER: If you are authorized to pay on my behalf charges I                       I waive any defenses I have based on suretyship or impairment or release of collateral.
am obligated to pay (such as property insurance premiums), then you may treat those           To the extent permitted by law, I also waive all personal property exemptions in the
payments made by you as advances and add them to the unpaid principal under this              property securing this loan.
note, or you may demand immediate payment of the charges.
                                                                                              OBLIGATIONS INDEPENDENT: I understand that I must pay this note even
SET-OFF: I agree that you may set off any amount due and payable under this note              if someone else has also agreed to pay it (by, for example, signing this form or a
against any right I have to receive money from you.                                           separate guarantee or endorsement). You may sue me alone, or anyone else who is
                                                                                              obligated on this note, or any number of us together, to collect this note. You may do
      "Right to receive money from you" means:                                                so without any notice that it has not been paid (notice of dishonor). You may without
                                                                                              notice release any party to this agreement without releasing any other party. If you
      (1)   any deposit account balance I have with you;
                                                                                              give up any of your rights, with or without notice, it will not affect my duty to pay this
      (2)   any money owed to me on an item presented to you or in your possession            note. Any extension of new credit to any of us or renewal of this note by all or less
            for collection or exchange; and                                                   than all of us will not release me from my duty to pay it. (Of course, you are entitled
                                                                                              to only one payment in full.) I agree that you may at your option extend this note or
      (3)   any repurchase agreement, patronage, dividend, equities or other
                                                                                              the debt represented by this note, or any portion of the note or debt, from time to time
            nondeposit obligation.
                                                                                              without limit or notice and for any term without affecting my liability for payment of
      "Any amount due and payable under this note" means the total amount of which            the note. I will not assign my obligation under this agreement without your prior
you are entitled to demand payment under the terms of this note at the time you set           written approval.
off. This total includes any balance the due date for which you properly accelerate
under this note.                                                                              CREDIT INFORMATION: I agree and authorize you to obtain credit
                                                                                              information about me from time to time (for example, by requesting a credit report)
      If my right to receive money from you is also owned by someone who has not              and to report to others your credit experience with me (such as a credit reporting
agreed to pay this note, your right of set-off will apply to my interest in the obligation    agency). I agree to provide you, upon request, any financial statement or information
and to any other amounts I could withdraw on my sole request or endorsement. Your             you may deem necessary. I warrant that the financial statements and information I
right of set-off does not apply to an account or other obligation where my rights are         provide to you are or will be accurate, correct and complete.
only as a representative. It also does not apply to any Individual Retirement Account
or other tax-deferred retirement account.                                                     NOTICE: Unless otherwise required by law, any notice to me shall be given by
                                                                                              delivering it or by mailing it by first class mail addressed to me at my last known
     You will not be liable for the dishonor of any check, or draft when the dishonor         address. I agree to inform you in writing of any change in my address within 30 days
occurs because you set off this debt against any of my accounts. I agree to hold you          of the change. I will give any notice to you by mailing it first class to your address
harmless from any such claims arising as a result of your exercise of your right of set       stated on page 1 of this agreement, or to any other address that you have designated.
off.




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                                                            Loan No.:      268100262
                                                            Borrower:      Big Racques Ranches, LLC
                                                            Assn.:         Capital Farm Credit, PCA
                                                            Branch:        San Antonio




ADDITIONAL TERMS:

    E3 MAXIMUM RATE DISCLOSURE:                     If this note includes a variable rate or an adjustable rate, the holder will notify the maker in writing of
           any changes in the rate of interest and the amount of any installment payment affected by a change in the rate of interest before the due date of
           such installment. The notice will include all information required by law to be given. The interest rate will never be greater than 21%.

    1~1    Prepayment .

    3 Post Default Interest Adjustment .
           In addition to the default interest provided for herein, if borrower defaults and such default(s) is not cured within forty-five (45) days of the
           occurrence of such default(s), the rate of interest (whether fixed, determined in the discretion of holder, by application of a margin to an index,
           or otherwise) applicable to all unpaid amounts under the note or loan documents may be increased, at the option of the holder of this note,
           (which will result in a corresponding increase in the default interest rate), provided that the total of all rate increases made pursuant to this
           sentence (exclusive of the $25.00 default interest charge(s), and the default interest provision established herein) shall not exceed two percent
           (2.0000 %).



    13     Security. The collateral for this note includes (but is not limited to) all real and personal property described in the deeds of trust, mortgages,
           security agreements, financing statements, guaranties and other security documents (the "Loan Documents") and all other property pledged or
           given previously or in the future as collateral for this note. Borrower and Lender intend to cross-secure all loans made to Borrower by Lender
           or any of Lender's Affiliates and all obligations of Borrower to Lender or to Lender's Affiliates, unless the law otherwise prohibits it. All
           collateral for this note shall remain collateral until this note, all amounts owed under any of the Loan Documents and any other amount owed to
           Lender or to Lender's Affiliate (where permitted by law) have been paid in full and a release thereof given by the Lender and/or its Affiliate.


       WAIVER OF TRIAL BY JURY
       THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER THE LOAN
       DOCUMENTS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE LENDER/SECURED PARTY BY ITS
       ACCEPTANCE OF THE PROMISSORY NOTE AND THE SECURITY AGREEMENT/DEED OF TRUST/MORTGAGE AND
       OTHER LOAN DOCUMENTS IRREVOCABLY AND UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY
       JURY IN ANY ACTION, SUIT OR COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING
          TO THE PROMISSORY NOTE, THE SECURITY AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE OR
       ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS THEREUNDER. ALL OF THE AFORESAID PARTIES SHALL
       HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS WAIVER IS KNOWINGLY, WILLINGLY AND
       VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL AWARENESSOF THE LEGAL CONSEQUENCES OF IT, AND
          THE PARTIES HERETO HEREBY REPRESENT THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE
          BY ANY PERSON OR ENTITY TO INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY
          ITS EFFECT. THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
       AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS SECTION IN ANY
       PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH PARTY HERETO FURTHER
       REPRESENTS AND WARRANTS THAT IT HAS BEEN REPRESENTED IN THE SIGNING OF THIS AGREEMENT AND IN THE
       MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED
          BY INDEPENDENT LEGAL COUNSEL SELECTED OF ITS OWN FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO
          SO.

 13 SECURITY: This note is separately secured by (describe separate                      PURPOSE: The purpose of this loan is Cows
 document by type and date):



 Security Agreement dated:                June 24, 2015

 (This section is for your internal use. Failure to list a separate security
 document does not mean the agreement will not secure this note.)


 DISPOSITION OF FUNDS



 Deposited to Account Number                                    Check Number
                                                                                         SIGNATURES: I AGREE TO THE TERMS OF THIS NOTE
                                                                                         (INCLUDING THOSE ON PAGE 2). I have received a copy on
                                                                                         today's date.

                                                                                         CAUTION - IT IS IMPORTANT THAT YOU THOROUGHLY
                                                                                         READ THIS CONTRACT BEFORE YOU SIGN IT.




NOTETERM Rev.7/14                                                          Page 3 of 4 Pages                                  Portions Copyrighted ©2005 by Bankers Systems, Inc.
                                             Loan No.:   268100262
                                             Borrower:   Big Racques Ranches, LLC
                                             Assn.:       Capital Farm Credit, PCA
                                             Branch:      San Antonio




Big RacquegJferffcheg^J
                                  4
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By:
                                  T
      Rand1   ai^feSpgfManaging       iber


                                  w

Randy Bafteras



Capital Farm Credit, PCA

NMLS ID: 493828

Mark Sloan

NMLS ID: 612386




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                    EXHIBIT E
{C1545662.DOCX:1}
                                                                                            LoanNo.268100262


 DEBTOR NAME AND ADDRESS                                                                    SECURED PART i-NAME AND ADDRESS



 Big Racques Ranches, LLC, PO Box 891, Charlotte, TX 7801 1;                                Capital Farm Credit, PCA whose address is
                                                                                            3000 Briarcrest Dr. Suite 601, Bryan, TX 77802




 Type:           individual HH decedent estate O partnership                     l~~l corporation   O limited partnership    [X] limited Lability company
             I I trust         limited liability partnership                     State of organization/registration (if applicable) TX

 I I If checked, refer to addendum for additional Debtors and signatures.

                                                                                Loan No.:      268100262


                                                          COMMERCIAL SECURITY AGREEMENT


The date of this Commercial Security Agreement (Agreement) is June 24, 2015.

SECURED DEBTS.                         This Agreement will secure all sums advanced by Secured Party under the terms of this Agreement and
       payment and performance of the following described Secured Debts owed to Secured Party by: Randv Balderas. Big Racques
       Ranches. LLC.

      I I      Specific Debts. The following debts and all extensions, renewals, refinancings, modifications, and replacements
               (describe):



      IXI                  All Debts. All present and future debts, regardless of whether this Agreement is referenced, such debts are secured
                           by other collateral, or whether the future debt is unrelated to or of a different type than the current debt, and
                           including those debts owed by Debtor or Borrower to any of Secured Party's affiliated or subsidiary institutions,
                           including but not limited to Capital Farm Credit, ACA and/or to Capital Farm Credit, FLCA, or their respective
                           successors or assigns. Any hen created hereby for an Affiliate or subsidiary shah be inferior and secondary to the
                           hen created in favor of Secured Party. Secured Party and/or its Affiliates or subsidiaries may make future advances
                           to Debtor or Borrower and/or may transfer the debt instruments from one Affiliate or subsidiary to another and this
                           Security Agreement shah further secure the payment to Secured Party or to Affiliates or subsidiaries of ah such
                           future advances. Nothing in this Agreement is a commitment to make future loans or advances.

SECURITY INTEREST.                              To secure the payment and performance of the Secured Debts, Debtor gives Secured Party a security
        interest in ah of the Property described in this Agreement that Debtor owns or has sufficient rights in which to transfer an
        interest, now or in the future, wherever the Property is or will be located, and ah proceeds and products of the Property.
        "Property" includes ah parts, accessories, repairs, replacements, improvements, and accessions to the Property; and original
        evidence of title or ownership; and ah obligations that support the payment or performance of the Property. "Proceeds" includes
        anything acquired upon the sale, lease, hcense, exchange, or other disposition of the Property; any rights and claims arising from
        the Property; and any cohections and distributions on account of the Property. This Agreement remains in effect until terminated
        in writing, even if the Secured Debts are paid and Secured Party is no longer obhgated to advance funds to Debtor or Borrower.

I~1 Debtor expressly acknowledges a purchase money security interest in the Property as security for the Secured Debts secured by
        this security agreement, which represents funds advanced by Secured Party at Debtor's request and used in the payment of the
        purchase price of the Property.

PROPERTY DESCRIPTION.                                 Ah of Debtor's interest in stock, participation certificates and/or other equity interests in Secured
        Party, including but not limited to ah Debtor's interest in dividends, whether paid in cash or in stock or participation certificates,
        and in ah allocated surplus or ahocated equity in Secured Party, including but not limited to exchanged or converted equity, and
        ah proceeds thereof to which Debtor may be entitled to receive on account of said property.

        Ah livestock now owned and hereafter acquired but not limited to: A purchase money security interest in 86 Brangus bred
        heifers.




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                                                                                                                                  1   2   7   2   2   4   6   3   9
                                                                                           Loan No.268 10026?-


GENERAL PROVISIONS. Each debtor's obligations under this Agreement                       INSURANCE.       Debtor agrees to keep the Property insured against the risks
are independent of the obligations of any other Debtor. Secured Party may sue            reasonably associated with the Property until the Property is released from this
each Debtor individually or together with any other Debtor. Secured Party may            Agreement. Debtor will maintain this insurance in the amounts Secured Party
release any part of the Property and Debtor will remain obligated under this             requires. Debtor may choose the insurance company, subject to Secured Party's
Agreement. The duties and benefits of this Agreement will bind the successors            approval, which will not be unreasonably withheld. Debtor will have the
and assigns of Debtor and Secured Party. No modification of this Agreement is            insurance provider name Secured Party as loss payee on the insurance policy.
effective unless made in writing and signed by Debtor and Secured Party.                 Debtor will give Secured Party and the insurance provider immediate notice of
Whenever used, the plural includes the singular and the singular includes the            any loss. Secured Party may apply the insurance proceeds toward the Secured
plural. Time is of the essence.                                                          Debts. Secured Party may require additional security as a condition of permitting
                                                                                         any insurance proceeds to be used to repair or replace the Property. If Secured
APPLICABLE LAW. This Agreement is governed by the laws of the state in
                                                                                         Party acquires the Property in damaged condition, Debtor's rights to       any
which Secured Party is located. In the event of a dispute, the exclusive forum,
                                                                                         insurance policies and proceeds will pass to Secured Party to the extent of the
venue, and place of jurisdiction will be the state in which Secured Party is
                                                                                         Secured Debts. Debtor will immediately notify Secured Party of the cancellation
located, unless otherwise required by law. If any provision of this Agreement is
                                                                                         or termination of insurance.
unenforceable by law, the unenforceable provision will be severed and the
remaining provisions will still be enforceable.                                          AUTHORITY TO PERFORM.              Debtor authorizes Secured Party to do
                                                                                         anything Secured Party deems reasonably necessary to protect the Property and
NAME AND LOCATION. Debtor's name indicated on page 1 is Debtor's
exact legal name. If Debtor is an individual, Debtor's address is Debtor's
                                                                                         Secured Party's interest in the Property. If Debtor fails to perform any of Debtor's
                                                                                         duties under this Agreement, Secured Party is authorized, without notice to
principal residence. If Debtor is not an individual, Debtor's address is the
                                                                                         Debtor, to perform the duties or cause them to be performed. These
location of Debtor's chief executive offices or sole place of business. If Debtor
                                                                                         authorizations include, but are not limited to, permission to pay for the repair,
is an entity organized and registered under state law, Debtor has provided
                                                                                         maintenance, and preservation of the Property and take any action to realize the
Debtor's state of registration on page 1. Debtor will provide verification of
                                                                                         value of the Property. Secured Party's authority to perform for Debtor does not
registration and location upon Secured Party's request. Debtor will provide
                                                                                         create an obligation to perform, and Secured Party's failure to perform will not
Secured Party with at least 30 days notice prior to any change in Debtor's name,
                                                                                         preclude Secured Party from exercising any other rights under the law or this
address, or state of organization or registration.
                                                                                         Agreement.
WARRANTIES AND REPRESENTATIONS,                        Debtor has the right,
                                                                                         If Secured Party performs for Debtor, Secured Party will use reasonable care.
authority, and power to enter into this Agreement. The execution and delivery of
                                                                                         Reasonable care will not include any steps necessary to preserve rights against
this Agreement will not violate any agreement governing Debtor or Debtor's
                                                                                         prior parties or any duty to take action in connection with the management of the
property, or to which Debtor is a party. Debtor makes the following warranties
                                                                                         Property.
and representations which continue as long as this Agreement is in effect:
(1)   Debtor is duly organized and validly existing in all jurisdictions in which        If Secured Party comes into possession of the Property, Secured Party will
      Debtor does business;                                                              preserve and protect the Property to the extent required by law. Secured Party's
                                                                                         duty of care with respect to the Property will be satisfied if Secured Party
(2)   the execution and performance of the terms of this Agreement have been
                                                                                         exercises reasonable care in the safekeeping of the Property or in the selection of
      duly authorized, have received all necessary governmental approval, and
                                                                                         a third party in possession of the Property.
      will not violate any provision of law or order;
(3)   other than previously disclosed to Secured Party, Debtor has not changed           Secured Party may enforce the obligations of an account debtor or other person
      Debtor's name or principal place of business within the last 10 years and          obligated on the Property. Secured Party may exercise Debtor's rights with
      has not used any other trade or fictitious name; and                               respect to the account debtor's or other person's obligations to make payment or
                                                                                         otherwise render performance to Debtor, and enforce any security interest that
(4)   debtor does not and will not use any other name without Secured Party's
                                                                                         secures such obligations.
      prior written consent.
                                                                                         PURCHASE MONEY SECURITY INTEREST. If the Property includes
Debtor owns all of the Property, and Secured Party's claim to the Property is
                                                                                         items purchased with the Secured Debts, the Property purchased with the Secured
ahead of the claims of any other creditor, except as otherwise agreed and
                                                                                         Debts will remain subject to Secured Party's security interest until the Secured
disclosed to Secured Party prior to any advance on the Secured Debts. The
                                                                                         Debts are paid in full. Payments on any non-purchase money loan also secured by
Property has not been used for any purpose that would violate any laws or
                                                                                         this Agreement will not be applied to the purchase money loan. Payments on the
subject the Property to forfeiture or seizure.
                                                                                         purchase money loan will be applied first to the non-purchase money portion of
DUTIES TOWARD PROPERTY.                  Debtor will protect the Property and
                                                                                         the loan, if any, and then to the purchase money portion in the order in which the
Secured Party's interest against any competing claim. Except as otherwise
                                                                                         purchase money Property was acquired. If the purchase money Property was
agreed, Debtor will keep the Property in Debtor's possession at the address
                                                                                         acquired at the same time, payments will be applied in the order Secured Party
indicated on page 1 of this Agreement. Debtor will keep the Property in good
                                                                                         selects. No security interest will be terminated by application of this formula.
repair and use the Property only for purposes specified on page 1. Debtor will
                                                                                         DEFAULT.         Debtor will be in default if:
not use the Property in violation of any law and will pay all taxes and
assessments levied or assessed against the Property. Secured Party has the right         (1)      Debtor (or Borrower, if not the same) fails to make a payment in full when
of reasonable access to inspect the Property, including the right to require                      due;
Debtor to assemble and make the Property available to Secured Party. Debtor              (2)      Debtor fails to perform any condition or keep any covenant on this or any
will immediately notify Secured Party of any loss or damage to the Property.                      debt or agreement Debtor has with Secured Party;
Debtor will prepare and keep books, records, and accounts about the Property             (3)      a default occurs under the terms of any instrument or agreement evidencing
and Debtor's business, to which Debtor will allow Secured Party reasonable                        or pertaining to the Secured Debts.
access.                                                                                  (4)      anything else happens that either causes Secured Party to reasonably believe
Debtor will not sell, offer to sell, license, lease, or otherwise transfer or                     that Secured Party will have difficulty in collecting the Secured Debts or
encumber the Property without Secured Party's prior written consent. Any                          significantly impairs the value of the Property.
disposition of the Property will violate Secured Party's rights, unless the              REMEDIES. After Debtor defaults, and after Secured Party gives any legally
Property is inventory sold in the ordinary course of business at fair market value.      required notice and opportunity to cure the default, Secured Party may at Secured
If the Property includes chattel paper or instruments, either as original collateral     Party's option do any one or more of the following:
or as proceeds of the Property, Debtor will record Secured Party's interest on the       (1)      make all or any part of the Secured Debts immediately due and accrue
face of the chattel paper or instruments.                                                         interest at the highest post-maturity interest rate;
If the Property includes accounts, Debtor will not settle any account for less than      (2)      require Debtor to gather the Property and malce it available to Seemed Party
the full value, dispose of the accounts by assignment, or make any material                       in a reasonable fashion;
change in the terms of any account without Secured Party's prior written                 (3)      enter upon Debtor's premises and take possession of all or any part of
consent. Debtor will collect all accounts in the ordinary course of business,                     Debtor's property for purposes of preserving the Property or its value and
unless otherwise required by Secured Party. Debtor will keep the proceeds of the                  use and operate Debtor's property to protect Secured Party's interest, all
accounts, and any goods returned to Debtor, in trust for Secured Party and will                   without payment or compensation to Debtor;
not commingle the proceeds or returned goods with any of Debtor's other                  (4)      use any remedy allowed by state or federal law, or provided in any
property. Secured Party has the right to require Debtor to pay Secured Party the                  agreement evidencing or pertaining to the Secured Debts.
full price on any returned items. Secured Party may require account debtors to
                                                                                         If Secured Party repossesses the Property or enforces the obligations of an
malce payments under the accounts directly to Secured Party. Debtor will deliver
                                                                                         account debtor, Secured Party may keep or dispose of the Property as provided by
the accounts to Secured Party at Secured Party's request. Debtor will give
                                                                                         law. Secured Party will apply the proceeds of any collection or disposition first to
Secured Party all statements, reports, certificates, lists of account debtors
                                                                                         Secured Party's expenses of enforcement, which includes reasonable attorney's
(showing names, addresses, and amounts owing), invoices applicable to each
                                                                                         fees and legal expenses to the extent not prohibited by law, and then to the
account, and any other data pertaining to the accounts as Secured Party requests.
                                                                                         Secured Debts. Debtor (or Borrower, if not the same) will be liable for the
If the Property includes farm products, Debtor will provide Secured Party with a         deficiency, if any.
list of the buyers, commission merchants, and selling agents to or through whom
                                                                                         By choosing any one or more of these remedies, Secured Party does not give up
Debtor may sell the farm products and Debtor consents to the use of Debtor's
                                                                                         the right to use any other remedy. Secured Party does not waive a default by not
Social Security or Tax Identification Number when notice of Secured Party's
                                                                                         using a remedy.
security interest is given to them. Debtor authorizes Secured Party to notify any
additional parties regarding Secured Party's interest in Debtor's farm products,         WAIVER. Debtor waives all claims for damages caused by Secured Party's acts
unless prohibited by law. Debtor agrees to plant, cultivate, and harvest crops in         or omissions where Secured Party acts in good faith.
due season. Debtor will be in default if any loan proceeds are used for a purpose        NOTICE AND ADDITIONAL DOCUMENTS. Where notice is required,
that will contribute to excessive erosion of highly erodible land or to the              Debtor agrees that 10 days prior written notice will be reasonable notice to
conversion of wetland to produce or to make possible the production of an                Debtor under the Uniform Commercial Code. Notice to one party is notice to all
agricultural commodity, forther explained in 7 CFR Part 1940, Subpart G,                 parties. Debtor agrees to sign, deliver, and file any additional documents and
Exhibit M.                                                                               certifications Secured Party considers necessary to perfect, continue, or preserve
If Debtor pledges the Property to Secured Party (delivers the Property into the          Debtor's obligations under this Agreement and to confirm Secured Party's lien
possession or control of Secured Party or a designated third party), Debtor will,        status on Property
upon receipt, deliver any proceeds and products of the Property to Secured
Party. Debtor will provide Secured Party with any notices, documents, financial
statements, reports, and other information relating to the Property Debtor
receives as the owner of the Property.
PERFECTION OF SECURITY INTEREST.                     Debtor authorizes Secured
Party to file a financing statement covering the Property or, if applicable, one or
more amendments to existing financing statements adding the Property and/or
additional Debtors. Debtor will comply with, facilitate, and otherwise assist
Secured Party in connection with obtaining possession or control over the
Property for purposes of perfecting Secured Party's interest under the Uniform
Commercial Code.

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                                                                           Loan No.:     268100262
                                                                           Borrower:     Big Racques Ranges, LLC
                                                                           Assn:         Capital Farm Credit, PCA
                                                                           Branch:       San Antonio




         WAIVER OF TRIAL BY JURY
         THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER
         THE LOAN DOCUMENTS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE
         LENDER/SECURED PARTY BY ITS ACCEPTANCE OF THE PROMISSORY NOTE AND THE SECURITY
         AGREEMENT/DEED OF TRUST/MORTGAGE AND OTHER LOAN DOCUMENTS IRREVOCABLY AND
         UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION, SUIT OR
         COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING TO THE
         PROMISSORY NOTE, THE SECURITY AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE
         OR ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS THEREUNDER. ALL OF THE AFORESAID
         PARTIES SHALL HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS WAIVER IS
         KNOWINGLY, WILLINGLY AND VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL
         AWARENESSOF THE LEGAL CONSEQUENCES OF IT, AND THE PARTIES HERETO HEREBY REPRESENT
         THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY PERSON OR ENTITY TO
         INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT. THIS
         PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
         AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS
         SECTION IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH
         PARTY HERETO FURTHER REPRESENTS AND WARRANTS THAT IT HAS BEEN REPRESENTED IN THE
         SIGNING OF THIS AGREEMENT AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL
         COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED BY INDEPENDENT LEGAL COUNSEL
         SELECTED OF ITS OWN FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO SO.

         COLLATERAL PROTECTION INSURANCE NOTICE
         As part of this Agreement, Debtor gives Secured Party a security interest in the Property described on page 1. Debtor is required
         to maintain insurance on the Property in an amount Secured Party specifies, subject to applicable law. Debtor agrees to purchase
         the insurance from an insurer authorized to do business in Texas or an eligible surplus lines insurer to the extent permitted by
         law. Debtor will name Secured Party as loss payee on the insurance policy. Debtor may be required to deliver a copy of the
         property insurance policy and proof of payment of premiums to Secured Party. If Debtor fails to meet any of these requirements,
         Secured Party may obtain collateral protection insurance on Debtor's behalf. Secured Party is not required to purchase any type
         or amount of insurance. Secured Party may obtain replacement cost insurance if authorized under applicable law, subject to
         policy limits. If Secured Party purchases insurance for the Property, Debtor will be responsible for the cost of that insurance,
         including interest and any other charges incurred by Secured Party in connection with the placement of collateral protection
         insurance to the extent permitted by law. Debtor understands that insurance obtained by Secured Party may cost significantly
         greater than the cost of insurance Debtor could have obtained. Amounts that Debtor owes are due and payable upon demand or
         on such other terms as Secured Party requires to the extent permitted by law.


THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN PARTIES.




              Specific Property Description.             The Property includes, but is not limited by, the following (if required, provide real estate
              description):




USE OF PROPERTY.                        The Property will be used for

                                        1 1 personal    [H business      [3 agricultural     HH other purposes; specify:

      Signatures.           Debtor agrees to the terms on pages 1, 2, and 3 of this Agreement and acknowledges receipt of a copy of this
                            Agreement.



                                               DEBTOR



                Big Racques RanchesJXC


                By:




             Capital Farm Credit, PCA

            NMLS ID: 493828

            Mark Sloan

            NMLS ID: 612386




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                    EXHIBIT F




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                                                                                                                                                          2   3   9   6   5   5




                                                                   Promissory Note
Big Racques Ranches, LLC, PO Box 891. Charlotte.            Capital Farm Credit, PCA whose address is                       Loan Number 268100275
TX. 78011                                                   3000 Briarcrest Dr. Suite 601                                   Date                 December 16. 2015
Randy Balderas PO Box 891, Charlotte, TX. 78011             Bryan, TX 77802
                                                                                                                            Maturity Date 12/01/2020
                                                                                                                            Loan Amount S34.000.00
      BORROWER'S NAME AND ADDRESS                                     LENDER'S NAME AND ADDRESS
                                                                                                                            Renewal Of
   "I", whether individually, or jointly and severally,          "You" means the lender, its successors and assigns.
         includes any and all of the undersigned.


For value received, I, whether individually, or jointly and severally, promise to pay to you, or your order, at your address listed above the
PRINCIPAL sum of Thirty Four Thousand And Zero/100 Dollars $f 34.000.00').
£3 Single Advance: No additional advances are contemplated under this note.
I~l Multiple Advance: The Principal sum shown above is the maximum amount of principal I can borrow under this note. I will receive an initial
advance in the amount of $             and future principal advances are contemplated.


     •    Open End Credit: You and I agree that I may borrow up to the maximum amount of principal more than one time. This feature is subject to all
          other conditions and expires on
     •    Closed End Credit: You and I agree that I may borrow up to the maximum only one time (and subject to all other conditions).

INTEREST: I agree to pay interest on the outstanding principal balance from the date principal is advanced until paid at the rate or rates herein provided.
     The initial rate of interest payable on this note shall be 4.9400 percent per annum. Following closing and beginning on the first day of every successive
     calendar month thereafter (the "Interest Rate Change Date") until maturity the interest rate shall be 452.0000 basis points (4.52 percentage points) above
     (the "Margin") the One-Month London Interbank Offered Rate ("LIBOR") as quoted in the "Money Rates" section of the Wall Street Journal on the last
     business day of the prior month and rounded to the nearest basis point (0.01 percentage points) (the "Index"). The interest rate will change during the
     term of the loan until maturity on each Interest Rate Change Date if there is a change in the Index. In the event the Wall Street Journal or the LIBOR
     interest rate is no longer available as a source for the Index the Lender may select another source of comparable information in its sole discretion. The
     rate shall not exceed the maximum lawful rate applicable to the holder.

ACCRUAL METHOD: Interest will be calculated on a Actual 365/366 basis.

POST MATURITY RATE: I agree to pay interest on the unpaid balance of this note owing after maturity, and until paid in full, as stated below:

     I I on the same fixed or variable rate basis in effect before maturity (as indicated above).

     Rl at a rate equal to the rate of interest applicable to this note on the date of maturity plus an additional four percent C4.000 %) per annum.

PAYMENT: I agree to pay this note as follows:
The indebtedness shall be payable in Five ( 5 ) Annual installments beginning on December 01. 2016 and thereafter on the first day of each December of
each calendar year until the Maturity Date when the indebtedness, both principal and interest, must be fully paid.
     EH Interest only payment(s) shall be payable on the installment due date(s).
     After the initial payment of interest only (if applicable), this note shall be payable:
               in successive equal installments of principal and interest in an amount sufficient to amortize the indebtedness over
               the term of the loan, the amount being subject to adjustment to reflect any increase or decrease in the interest rate, if applicable.
          •    in successive installments of principal in the amount of $ plus accrued interest on the unpaid principal balance.
I understand and agree that the first installment will include all interest accrued on the unpaid principal balance from the date principal is first advanced.



DEFAULT INTEREST: Prior to maturity of this note, any amount owing under this note which is not paid when due, and any advance made by the holder
of this note pursuant to any of the Loan Documents, shall bear interest at a default rate equal to the rate in effect at the time repayment of such amount or
advance is received by the holder of this note plus an additional four percent (4.000 %) per annum. Any such amount or advance which is not paid prior to
maturity of this note shall bear interest at a default rate equal to the rate of interest applicable on the date of maturity plus an additional four percent (4.000
%) per annum from the date such amount is due or such advance is made, and such amount or advance plus accrued default interest thereon shall be added to
the unpaid principal at maturity. Notwithstanding the foregoing, if the holder of this note is not a Farm Credit System Institution, then the default rate shall
be limited so that it shall not exceed a rate that will result in an effective yield in excess of the maximum lawful rate. If any amount owed under this note or
the loan documents is not paid when due, the holder shall be entitled to collect default interest from the date(s) of default in an amount produced by applying
the applicable default interest rate as set out above to the amount in default. If said default(s) is not cured within fifteen (15) days of the occurrence of such
default(s), the holder shall be entitled to collect an additional default interest charge of $25.00.




NOTETERM Rev.7/14                                                           ; 1 of 4 Pages                                   Portions Copyrighted ©2005 by Bankers Systems, Inc.
                                                                                                                 Loan No.: 268100275

DEFINITIONS: As used on page 1, "x" means the terms that apply to this loan. "I,"             REAL ESTATE OR RESIDENCE SECURITY: If this note is secured by
"me" or "my" means each Borrower who signs this note and each other person or legal           real estate or a residence that is personal property, the existence of a default and your
entity (including guarantors, endorsers, and sureties) who agrees to pay this note            remedies for such a default will be determined by applicable law, by the terms of any
(together referred to as "us"). "You" or "your" means the Lender and its successors           separate instrument creating the security interest and, to the extent not prohibited by
and assigns. "Affiliate" means any lending organization that wholly owns Lender               law and not contrary to the terms of the separate security instrument, by the "Default"
("Parent") and any lending organization that is wholly owned by Parent.                       and "Remedies" paragraphs herein.
APPLICABLE LAW: The law of the state of Texas will govern this note. Any                      DEFAULT: I will be in default if any one or more of the following occur: (1) I fail
term of this note which is contrary to applicable law will not be effective, unless the       to make a payment on time or in the amount due; (2) I fail to keep the property
law permits you and me to agree to such a variation. If any provision of this agreement       insured, if required; (3) I fail to pay, or keep any promise, on any debt or agreement I
cannot be enforced according to its terms, this fact will not affect the enforceability of    have with you or with any of your Affiliates; (4) any other creditor of mine attempts to
the remainder of this agreement. No modification of this note or any agreement                collect any debt I owe him through court proceedings; (5) I die, am declared
securing this note is effective unless the modification is in writing and signed by you       incompetent, make an assignment for the benefit of creditors, or become insolvent
and me. Time is of the essence in this agreement.                                             (either because my liabilities exceed my assets or I am unable to pay my debts as they
                                                                                              become due); (6) I make any written statement or provide any financial information
PAYMENTS: Each payment I make on this note shall be applied by holder to such                 that is untrue or inaccurate at the time it was provided; (7) I do or fail to do something
part of the indebtedness as holder may elect. If you and I agree to a different               which causes you to believe that you will have difficulty collecting the amount I owe
application of payments, we will describe our agreement on this note or by written            you; (8) any collateral securing this note is used in a manner or for a purpose which
agreement. I may prepay a part of, or the entire balance of this loan without penalty,        threatens confiscation by a legal authority; (9) I change my name or assume an
unless we specify to the contrary on this note. Any partial prepayment will not excuse        additional name without first notifying you before making such a change; (10) I fail to
or reduce any later scheduled payment until this note is paid in full (unless, when I         operate in a husbandlike manner; or (11) if the Farm Service Agency either guarantees
make the prepayment, you and I agree in writing to the contrary). Acceptance of one           this note or has a junior lien on collateral securing this note, and the loan proceeds are
or more late or partial payments shall not constitute a waiver of any default nor of          used for a purpose that will contribute to excessive erosion of highly erodible land or
holder's right to receive timely payment. Acceptance of any partial payment after             to the conversion of wetlands to produce or to make possible the production of an
default and acceleration shall not constitute a reinstatement of the pre-acceleration         agricultural commodity, as further explained in 7 C.F.R. Part 1940, Subpart G, Exhibit
payment schedule, nor shall it impair any of the holder's rights or remedies or               M. ( In the event that and so long as the note is guaranteed by the Farm Service
prejudice any of the holder's other rights.                                                   Agency, Default provision 11 shall apply regardless of any provision(s) to the contrary
                                                                                              in any renewal, extension, modification or readjustment of payments.)
INTEREST: Interest accrues on the principal remaining unpaid from time to time,
until paid in full. If I receive the principal in more than one advance, each advance          REMEDIES: If I am in default on this note you have, but are not limited to, the
will start to earn interest only when I receive the advance. The interest rate in effect on    following remedies:
this note at any given time will apply to the entire principal advanced at that time. You
and I may provide in this agreement for accrued interest not paid when due to be                     (1) You may demand immediate payment of all I owe you under this note
added to principal. Notwithstanding anything to the contrary, I do not agree to pay and                   (principal, accrued unpaid interest and other accrued charges).
you do not intend to charge any rate of interest that is higher than the maximum rate of               (2)   You may set off this debt against any right I have to the payment of money
interest you could charge under applicable law for the extension of credit that is                           from you, subject to the terms of the "Set-off" paragraph herein.
agreed to here (either before or after maturity). If any notice of interest accrual is sent
and is in error, we mutually agree to correct it, and if you actually collect more interest            (3)   You may demand security, additional security, or additional parties to be
than allowed by law and this agreement, you agree to refund it to me.                                        obligated to pay this note as a condition for not using any other remedy.
                                                                                                       (4)   You may refuse to make advances to me.
INDEX RATE: If the interest is based upon an Index, the index will serve only as a
device for setting the rate on this note. You do not guarantee by selecting this index, or             (5)   You may use any remedy you have under state or federal law.
the margin, that the rate on this note will be the same rate you charge on any other           By selecting any one or more of these remedies you do not give up your right to later
loans or class of loans to me or other borrowers.                                              use any other remedy. By waiving your right to declare any event to be a default, you
ACCRUAL METHOD: The amount of interest that I will pay on this loan will be                    do not waive your right to later consider the event as a default if it continues or
calculated using the interest rate and accrual method stated on page 1 of this note. For       happens again.
the purpose of interest calculation, the accrual method will determine the number of           COLLECTION COSTS AND ATTORNEY'S FEES: I agree to pay all costs
days in a "year." If no accrual method is stated, then you may use any reasonable              of collection, replevin or any other or similar type of cost if I am in default. In
accrual method for calculating interest.                                                       addition, if you hire an attorney (salaried, corporate, or other attorney) to collect this
                                                                                               note, I also agree to pay any fee you incur with such attorney plus court costs (except
POST MATURITY RATE: For purposes of deciding when the "Post Maturity
                                                                                               where prohibited by law). To the extent permitted by the United States Bankruptcy
Rate" (shown on page 1) applies, the term "maturity" means the date of the last
                                                                                               Code, I also agree to pay the reasonable attorney's fees and costs you incur to collect
scheduled payment indicated on page 1 of this note or the date you accelerate payment
                                                                                               this debt as awarded by any court exercising jurisdiction under the Bankruptcy Code.
on the note, whichever is earlier.
SINGLE ADVANCE LOANS: If this is a single advance loan, you and I expect                       WAIVER: I give up my rights to require you to do certain things. I will not require
that you will make only one advance of principal. However, you may add other                   you to:
amounts to the principal if you make any payments described in the "PAYMENTS BY                      (1) demand payment of amounts due (presentment);
LENDER" paragraph below, or if we have agreed that accrued interest not paid when                      (2)   obtain official certification of nonpayment (protest);
due may be added to principal.
                                                                                                       (3)   give notice that amounts due have not been paid (notice of dishonor);
MULTIPLE ADVANCE LOANS: If this is a multiple advance loan, you and I
                                                                                                       (4)   give notice of intention to accelerate and notice of acceleration; or
expect that you will make more than one advance of principal. If this is closed end
credit, repaying a part of the principal will not entitle me to additional credit.                     (5)   exercise diligence in collection, grace, notice and notice of protest.
PAYMENTS BY LENDER: If you are authorized to pay on my behalf charges I                        I waive any defenses I have based on suretyship or impairment or release of collateral.
am obligated to pay (such as property insurance premiums), then you may treat those            To the extent permitted by law, I also waive all personal property exemptions in the
payments made by you as advances and add them to the unpaid principal under this               property securing this loan.
note, or you may demand immediate payment of the charges.                                      OBLIGATIONS INDEPENDENT: I understand that I must pay this note even
SET-OFF: I agree that you may set off any amount due and payable under this note               if someone else has also agreed to pay it (by, for example, signing this form or a
against any right I have to receive money from you.                                            separate guarantee or endorsement). You may sue me alone, or anyone else who is
                                                                                               obligated on this note, or any number of us together, to collect this note. You may do
      "Right to receive money from you" means:                                                 so without any notice that it has not been paid (notice of dishonor). You may without
                                                                                               notice release any party to this agreement without releasing any other party. If you
      (1)   any deposit account balance I have with you;                                       give up any of your rights, with or without notice, it will not affect my duty to pay this
      (2)   any money owed to me on an item presented to you or in your possession             note. Any extension of new credit to any of us or renewal of this note by all or less
            for collection or exchange; and                                                    than all of us will not release me from my duty to pay it. (Of course, you are entitled
                                                                                               to only one payment in full.) I agree that you may at your option extend this note or
      (3)   any repurchase agreement, patronage, dividend, equities or other                   the debt represented by this note, or any portion of the note or debt, from time to time
            nondeposit obligation.                                                             without limit or notice and for any term without affecting my liability for payment of
      "Any amount due and payable under this note" means the total amount of which             the note. I will not assign my obligation under this agreement without your prior
you are entitled to demand payment under the terms of this note at the time you set            written approval.
off. This total includes any balance the due date for which you properly accelerate
under this note.                                                                               CREDIT INFORMATION: I agree and authorize you to obtain credit
                                                                                               information about me from time to time (for example, by requesting a credit report)
      If my right to receive money from you is also owned by someone who has not               and to report to others your credit experience with me (such as a credit reporting
agreed to pay this note, your right of set-off will apply to my interest in the obligation     agency). I agree to provide you, upon request, any financial statement or information
and to any other amounts I could withdraw on my sole request or endorsement. Your              you may deem necessary. I warrant that the financial statements and information I
right of set-off does not apply to an account or other obligation where my rights are          provide to you are or will be accurate, correct and complete.
only as a representative. It also does not apply to any Individual Retirement Account
or other tax-deferred retirement account.                                                      NOTICE: Unless otherwise required by law, any notice to me shall be given by
                                                                                               delivering it or by mailing it by first class mail addressed to me at my last known
     You will not be liable for the dishonor of any check, or draft when the dishonor          address. I agree to inform you in writing of any change in my address within 30 days
occurs because you set off this debt against any of my accounts. I agree to hold you           of the change. I will give any notice to you by mailing it first class to your address
harmless from any such claims arising as a result of your exercise of your right of set-       stated on page 1 of this agreement, or to any other address that you have designated.
off.




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                                                            Loan No.:      268100275
                                                            Borrower:      Big Racques Ranches, LLC
                                                            Assn.:         Capital Farm Credit, PCA
                                                            Branch:        San Antonio




ADDITIONAL TERMS:
    [3    MAXIMUM RATE DISCLOSURE: If this note includes a variable rate or an adjustable rate, the holder will notify the maker in writing of
          any changes in the rate of interest and the amount of any installment payment affected by a change in the rate of interest before the due date of
          such installment. The notice will include all information required by law to be given. The interest rate will never be greater than 21%.

    l~l Prepayment.

    1X1 Post Default Interest Adjustment.
          In addition to the default interest provided for herein, if borrower defaults and such default(s) is not cured within forty-five (45) days of the
          occurrence of such default(s), the rate of interest (whether fixed, determined in the discretion of holder, by application of a margin to an index,
          or otherwise) applicable to all unpaid amounts under the note or loan documents may be increased, at the option of the holder of this note,
          (which will result in a corresponding increase in the default interest rate), provided that the total of all rate increases made pursuant to this
          sentence (exclusive of the $25.00 default interest charge(s), and the default interest provision established herein) shall not exceed two percent
          (2.0000 %).


    ^     Security. The collateral for this note includes (but is not limited to) all real and personal property described in the deeds of trust, mortgages,
          security agreements, financing statements, guaranties and other security documents (the "Loan Documents") and all other property pledged or
          given previously or in the future as collateral for this note. Borrower and Lender intend to cross-secure all loans made to Borrower by Lender
          or any of Lender's Affiliates and all obligations of Borrower to Lender or to Lender's Affiliates, unless the law otherwise prohibits it. All
          collateral for this note shall remain collateral until this note, all amounts owed under any of the Loan Documents and any other amount owed to
          Lender or to Lender's Affiliate (where permitted by law) have been paid in full and a release thereof given by the Lender and/or its Affiliate.


         WAIVER OF TRIAL BY JURY
         THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER THE LOAN
         DOCUMENTS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE LENDER/SECURED PARTY BY ITS
         ACCEPTANCE OF THE PROMISSORY NOTE AND THE SECURITY AGREEMENT/DEED OF TRUST/MORTGAGE AND
         OTHER LOAN DOCUMENTS IRREVOCABLY AND UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY
         JURY IN ANY ACTION, SUIT OR COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING
         TO THE PROMISSORY NOTE, THE SECURITY AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE OR
         ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS THEREUNDER. ALL OF THE AFORESAID PARTIES SHALL
         HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS WAIVER IS KNOWINGLY, WILLINGLY AND
         VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL AWARENESSOF THE LEGAL CONSEQUENCES OF IT, AND
         THE PARTIES HERETO HEREBY REPRESENT THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE
         BY ANY PERSON OR ENTITY TO INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY
         ITS EFFECT. THIS PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
         AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS SECTION IN ANY
         PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH PARTY HERETO FURTHER
         REPRESENTS AND WARRANTS THAT IT HAS BEEN REPRESENTED IN THE SIGNING OF THIS AGREEMENT AND IN THE
         MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED
         BY INDEPENDENT LEGAL COUNSEL SELECTED OF ITS OWN FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO
         SO.

    SECURITY: This note is separately secured by (describe separate                      PURPOSE: The purpose of this loan is Equipment: Purchase pivots.
 document by type and date):
                                          December 16, 2015
 Security Agreement dated:                December 16, 2015
 (This section is for your internal use. Failure to list a separate security
 document does not mean the agreement will not secure this note.)

 DISPOSITION OF FUNDS


 Deposited to Account Number                                    Check Number
                                                                                         SIGNATURES: I AGREE TO THE TERMS OF THIS NOTE
                                                                                         (INCLUDING THOSE ON PAGE 2). I have received a copy on
                                                                                         today's date.
                                                                                         CAUTION - IT IS IMPORTANT THAT YOU THOROUGHLY
                                                                                         READ THIS CONTRACT BEFORE YOU SIGN IT.




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                                       Loan No.:   268100275
                                       Borrower:   Big Racques Ranches, LLC
                                       Assn.:      Capital Farm Credit, PCA
                                       Branch:     San Antonio



Big Racques RanchesTEt

By:,
   Randy Balderas, MtShagina) Member



         77^
Randy Balderas      '



Capital Farm Credit, PCA
N M L S ID: 493828
Mark Sloan
N M L S ID: 612386




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                    EXHIBIT G




{C1545662.DOCX:1}
                                                                                  Loan No.268100275

 DEBTOR NAME AND ADDRESS                                                           SECURED PARTY NAME AND ADDRESS


 Big Racques Ranches, LLC, PO Box 891, Charlotte, TX 78011;                        Capital Farm Credit, PCA whose address is
 Randy Balderas, PO Box 891, Charlotte, TX 78011                                   3000 Briarcrest Dr. Suite 601, Bryan, TX 77802




  Type: |KI individual LH decedent estate O partnership                 Q corporation O limited partnership ^<] limited liability company
        • trust        • limited liability partnership                  State of organization/registration (if applicable) TX
  I I If checked, refer to addendum for additional Debtors and signatures.
                                                                      Loan No.: 268100275

                                                      COMMERCIAL SECURITY AGREEMENT

The date of this Commercial Security Agreement (Agreement) is December 16, 2015.
SECURED DEBTS.       This Agreement will secure all sums advanced by Secured Party under the terms of this Agreement and
   payment and performance of the following described Secured Debts owed to Secured Party by: Randv Balderas. Big Racques
   Ranches. LLC.
      •        Specific Debts. The following debts and all extensions, renewals, refinancings, modifications, and replacements
               (describe):


                           All Debts. All present and future debts, regardless of whether this Agreement is referenced, such debts are secured
                           by other collateral, or whether the future debt is unrelated to or of a different type than the current debt, and
                           including those debts owed by Debtor or Borrower to any of Secured Party's affiliated or subsidiary institutions,
                           including but not limited to Capital Farm Credit, ACA and/or to Capital Farm Credit, FLCA, or their respective
                           successors or assigns. Any lien created hereby for an Affiliate or subsidiary shall be inferior and secondary to the
                           lien created in favor of Secured Party. Secured Party and/or its Affiliates or subsidiaries may make future advances
                           to Debtor or Borrower and/or may transfer the debt instruments from one Affiliate or subsidiary to another and this
                           Security Agreement shall further secure the payment to Secured Party or to Affiliates or subsidiaries of all such
                           future advances. Nothing in this Agreement is a commitment to make future loans or advances.

SECURITY INTEREST.            To secure the payment and performance of the Secured Debts, Debtor gives Secured Party a security
   interest in all of the Property described in this Agreement that Debtor owns or has sufficient rights in which to transfer an
   interest, now or in the future, wherever the Property is or will be located, and all proceeds and products of the Property.
   "Property" includes all parts, accessories, repairs, replacements, improvements, and accessions to the Property; and original
   evidence of title or ownership; and all obligations that support the payment or performance of the Property. "Proceeds" includes
   anything acquired upon the sale, lease, license, exchange, or other disposition of the Property; any rights and claims arising from
   the Property; and any collections and distributions on account of the Property. This Agreement remains in effect until terminated
   in writing, even if the Secured Debts are paid and Secured Party is no longer obligated to advance funds to Debtor or Borrower.

I I Debtor expressly acknowledges a purchase money security interest in the Property as security for the Secured Debts secured by
     this security agreement, which represents funds advanced by Secured Party at Debtor's request and used in the payment of the
     purchase price of the Property.
PROPERTY DESCRIPTION.              All of Debtor's interest in stock, participation certificates and/or other equity interests in Secured
   Party, including but not limited to all Debtor's interest in dividends, whether paid in cash or in stock or participation certificates,
   and in all allocated surplus or allocated equity in Secured Party, including but not limited to exchanged or converted equity, and
   all proceeds thereof to which Debtor may be entitled to receive on account of said property.
          A purchase money security interest in all irrigation equipment, facilities, fixtures and appurtenances thereto, now owned or
          hereafter acquired which items are acknowledged by the Grantor to be fixtures and a part of the real estate, expressly including
          all additions to and all substitutions and replacements and proceeds thereof, including but not limited to: 1 Zimmatic, non tow
          pivot system, 4 Towers, 2-179' Spans, 2-157' Spans 6 5/8" Pipe w/ 8500 Series Spans, SN# LD7494, 1 Zimmatic, non tow pivot
          system, 3 Towers, 3-179' spans, 6 5/8" pipe, 8500P w/8500 Series Span, SN# LD7493, wherever located and now being situated
          on the following premises: 202.491 acres, out of the Jose Antonio Navarro Survey No. 46, Abstract No. 9, and the Joaquin de la
          Garza Survey No. 1, Abstract No. 3, Atascosa County, Texas;

          Any and all irrigation pumps, column pipe, gear heads, well casing, and underground pipe and tile, now or hereafter located on
          said premises, which fixtures and/or equipment shall not be removed nor replaced without the prior written consent of Lender;
          and Grantor hereby covenant and agree to notify the Lender prior to the removal of any of the fixtures named above, whether or
          not such fixtures are replaced with other property of a similar nature.




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                                                                                           Loan No.268100275

GENERAL PROVISIONS. Each debtor's obligations under this Agreement                       INSURANCE. Debtor agrees to keep the Property insured against the risks
are independent of the obligations of any other Debtor. Secured Party may sue            reasonably associated with the Property until the Property is released from this
each Debtor individually or together with any other Debtor. Secured Party may            Agreement. Debtor will maintain this insurance in the amounts Secured Party
release any part of the Property and Debtor will remain obligated under this             requires. Debtor may choose the insurance company, subject to Secured Party's
Agreement. The duties and benefits of this Agreement will bind the successors            approval, which will not be unreasonably withheld. Debtor will have the
and assigns of Debtor and Secured Party. No modification of this Agreement is            insurance provider name Secured Party as loss payee on the insurance policy.
effective unless made in writing and signed by Debtor and Secured Party.                 Debtor will give Secured Party and the insurance provider immediate notice of
Whenever used, the plural includes the singular and the singular includes the            any loss. Secured Party may apply the insurance proceeds toward the Secured
plural. Time is of the essence.                                                          Debts. Secured Party may require additional security as a condition of permitting
                                                                                         any insurance proceeds to be used to repair or replace the Property. If Secured
APPLICABLE LAW. This Agreement is governed by the laws of the state in
                                                                                         Party acquires the Property in damaged condition. Debtor's rights to any
which Secured Party is located. In the event of a dispute, the exclusive forum,
                                                                                         insurance policies and proceeds will pass to Secured Party to the extent of the
venue, and place of jurisdiction will be the state in which Secured Party is
                                                                                         Secured Debts. Debtor will immediately notify Secured Party of the cancellation
located, unless otherwise required by law. If any provision of this Agreement is
                                                                                         or termination of insurance.
unenforceable by law, the unenforceable provision will be severed and the
remaining provisions will still be enforceable.                                          AUTHORITY TO PERFORM. Debtor authorizes Secured Party to do
                                                                                         anything Secured Party deems reasonably necessary to protect the Property and
NAME AND LOCATION. Debtor's name indicated on page 1 is Debtor's
                                                                                         Secured Party's interest in the Property. If Debtor fails to perform any of Debtor's
exact legal name. If Debtor is an individual. Debtor's address is Debtor's
                                                                                         duties under this Agreement, Secured Party is authorized, without notice to
principal residence. If Debtor is not an individual, Debtor's address is the
                                                                                         Debtor, to perform the duties or cause them to be performed. These
location of Debtor's chief executive offices or sole place of business. If Debtor
                                                                                         authorizations include, but are not limited to, permission to pay for the repair,
is an entity organized and registered under state law, Debtor has provided
                                                                                         maintenance, and preservation of the Property and take any action to realize the
Debtor's state of registration on page 1. Debtor will provide verification of
                                                                                         value of the Property. Secured Party's authority to perform for Debtor does not
registration and location upon Secured Party's request. Debtor will provide
                                                                                         create an obligation to perform, and Secured Party's failure to perform will not
Secured Party with at least 30 days notice prior to any change in Debtor's name,
                                                                                         preclude Secured Party from exercising any other rights under the law or this
address, or state of organization or registration.
                                                                                         Agreement.
WARRANTIES AND REPRESENTATIONS.                            Debtor has the right,
authority, and power to enter into this Agreement. The execution and delivery of         If Secured Party performs for Debtor, Secured Party will use reasonable care.
this Agreement will not violate any agreement governing Debtor or Debtor's               Reasonable care will not include any steps necessary to preserve rights against
property, or to which Debtor is a party. Debtor makes the following warranties           prior parties or any duty to take action in connection with the management of the
and representations which continue as long as this Agreement is in effect:               Property.
(1) Debtor is duly organized and validly existing in all jurisdictions in which          If Secured Party comes into possession of the Property, Secured Party will
       Debtor does business;                                                             preserve and protect the Property to the extent required by law. Secured Party's
                                                                                         duty of care with respect to the Property will be satisfied if Secured Party
(2) the execution and performance of the terms of this Agreement have been
                                                                                         exercises reasonable care in the safekeeping of the Property or in the selection of
       duly authorized, have received all necessary governmental approval, and
                                                                                         a third party in possession of the Property.
       will not violate any provision of law or order;
(3) other than previously disclosed to Secured Party, Debtor has not changed             Secured Party may enforce the obligations of an account debtor or other person
       Debtor's name or principal place of business within the last 10 years and         obligated on the Property. Secured Party may exercise Debtor's rights with
       has not used any other trade or fictitious name; and                              respect to the account debtor's or other person's obligations to make payment or
                                                                                         otherwise render performance to Debtor, and enforce any security interest that
(4) debtor does not and will not use any other name without Secured Party's
                                                                                         secures such obligations.
       prior written consent.
                                                                                         PURCHASE MONEY SECURITY INTEREST. If the Property includes
Debtor owns all of the Property, and Secured Party's claim to the Property is
                                                                                         items purchased with the Secured Debts, the Property purchased with the Secured
ahead of the claims of any other creditor, except as otherwise agreed and
                                                                                         Debts will remain subject to Secured Party's security interest until the Secured
disclosed to Secured Party prior to any advance on the Secured Debts. The
                                                                                         Debts are paid in full. Payments on any non-purchase money loan also secured by
Property has not been used for any purpose that would violate any laws or
                                                                                         this Agreement will not be applied to the purchase money loan. Payments on the
subject the Property to forfeiture or seizure.
                                                                                         purchase money loan will be applied first to the non-purchase money portion of
DUTIES TOWARD PROPERTY. Debtor will protect the Property and                             the loan, if any, and then to the purchase money portion in the order in which the
Secured Party's interest against any competing claim. Except as otherwise                purchase money Property was acquired. If the purchase money Property was
agreed. Debtor will keep the Property in Debtor's possession at the address              acquired at the same time, payments will be applied in the order Secured Party
indicated on page 1 of this Agreement. Debtor will keep the Property in good             selects. No security interest will be terminated by application of this formula.
repair and use the Property only for purposes specified on page 1. Debtor will           DEFAULT. Debtor will be in default if;
not use the Property in violation of any law and will pay all taxes and
assessments levied or assessed against the Property. Secured Party has the right         (1)   Debtor (or Borrower, if not the same) fails to make a payment in full when
of reasonable access to inspect the Property, including the right to require                   due;
Debtor to assemble and make the Property available to Secured Party. Debtor              (2) Debtor fails to perform any condition or keep any covenant on this or any
will immediately notify Secured Party of any loss or damage to the Property.                   debt or agreement Debtor has with Secured Party;
Debtor will prepare and keep books, records, and accounts about the Property             (3) a default occurs under the terms of any instrument or agreement evidencing
and Debtor's business, to which Debtor will allow Secured Party reasonable                     or pertaining to the Secured Debts.
access.                                                                                  (4) anything else happens that either causes Secured Party to reasonably believe
Debtor will not sell, offer to sell, license, lease, or otherwise transfer or                  that Secured Party will have difficulty in collecting the Secured Debts or
encumber the Property without Secured Party's prior written consent. Any                       significantly impairs the value of the Property.
disposition of the Property will violate Secured Party's rights, unless the              REMEDIES. After Debtor defaults, and after Secured Party gives any legally
Property is inventory sold in the ordinary course of business at fair market value.      required notice and opportunity to cure the default Secured Party may at Secured
If the Property includes chattel paper or instruments, either as original collateral     Party's option do any one or more of the following:
or as proceeds of the Property, Debtor will record Secured Party's interest on the       (1) make all or any part of the Secured Debts immediately due and accrue
face of the chattel paper or instruments.                                                      interest at the highest post-maturity interest rate;
If the Property includes accounts, Debtor will not settle any account for less than      (2) require Debtor to gather the Property and make it available to Secured Party
the full value, dispose of the accounts by assignment, or make any material                    in a reasonable fashion;
change in the terms of any account without Secured Party's prior written                 (3) enter upon Debtor's premises and take possession of all or any part of
consent. Debtor will collect all accounts in the ordinary course of business,                  Debtor's property for purposes of preserving the Property or its value and
unless otherwise required by Secured Party. Debtor will keep the proceeds of the               use and operate Debtor's property to protect Secured Party's interest, all
accounts, and any goods returned to Debtor, in trust for Secured Party and will                without payment or compensation to Debtor;
not commingle the proceeds or returned goods with any of Debtor's other                  (4) use any remedy allowed by state or federal law, or provided in any
property. Secured Party has the right to require Debtor to pay Secured Party the               agreement evidencing or pertaining to the Secured Debts.
full price on any returned items. Secured Party may require account debtors to
                                                                                         If Secured Party repossesses the Property or enforces the obligations of an
make payments under the accounts directly to Secured Party. Debtor will deliver
                                                                                         account debtor, Secured Party may keep or dispose of the Property as provided by
the accounts to Secured Party at Secured Party's request. Debtor will give
                                                                                         law. Secured Party will apply the proceeds of any collection or disposition first to
Secured Party all statements, reports, certificates, lists of account debtors
                                                                                         Secured Party's expenses of enforcement, which includes reasonable attorney's
(showing names, addresses, and amounts owing), invoices applicable to each
                                                                                         fees and legal expenses to the extent not prohibited by law, and then to the
account, and any other data pertaining to the accounts as Secured Party requests.
                                                                                         Secured Debts. Debtor (or Borrower, if not the same) will be liable for the
If the Property includes farm products, Debtor will provide Secured Party with a
                                                                                         deficiency, if any.
list of the buyers, commission merchants, and selling agents to or through whom
Debtor may sell the farm products and Debtor consents to the use of Debtor's             By choosing any one or more of these remedies, Secured Party does not give up
Social Security or Tax Identification Number when notice of Secured Party's              the right to use any other remedy. Secured Party does not waive a default by not
security interest is given to them. Debtor authorizes Secured Party to notify any        using a remedy.
additional parties regarding Secured Party's interest in Debtor's farm products,         WAIVER. Debtor waives all claims for damages caused by Secured Party's acts
unless prohibited by law. Debtor agrees to plant cultivate, and harvest crops in         or omissions where Secured Party acts in good faith.
due season. Debtor will be in default if any loan proceeds are used for a purpose        NOTICE AND ADDITIONAL DOCUMENTS. Where notice is required,
that will contribute to excessive erosion of highly erodible land or to the              Debtor agrees that 10 days prior written notice will be reasonable notice to
conversion of wetland to produce or to make possible the production of an                Debtor under the Uniform Commercial Code. Notice to one party is notice to all
agricultural commodity, further explained in 7 CFR Part 1940, Subpart G,                 parties. Debtor agrees to sign, deliver, and file any additional documents and
Exhibit M.                                                                               certifications Secured Party considers necessary to perfect, continue, or preserve
If Debtor pledges the Property to Secured Party (delivers the Property into the          Debtor's obligations under this Agreement and to confirm Secured Party's lien
possession or control of Secured Party or a designated third party), Debtor will,        status on Property
upon receipt deliver any proceeds and products of the Property to Secured
Party. Debtor will provide Secured Party with any notices, documents, financial
statements, reports, and other information relating to the Property Debtor
receives as the owner of the Property.
PERFECTION OF SECURITY INTEREST. Debtor authorizes Secured
Party to file a financing statement covering the Property or, if applicable, one or
more amendments to existing financing statements adding the Property and/or
additional Debtors. Debtor will comply with, facilitate, and otherwise assist
Secured Party in connection with obtaining possession or control over the
Property for purposes of perfecting Secured Party's interest under the Uniform
Commercial Code.
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                                                                           Loan No.: 268100275
                                                                           Borrower: Big Racques Ranches, LLC
                                                                           Assn:     Capital Farm Credit, PCA
                                                                           Branch:   San Antonio



          WAIVER OF TRIAL BY JURY
          THE GRANTORS /DEBTORS/BORROWERS/MAKERS/GUARANTORS AND OTHER PARTIES BOUND UNDER
          THE LOAN DOCUMENTS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES, AND THE
          LENDER/SECURED PARTY BY ITS ACCEPTANCE OF THE PROMISSORY NOTE AND THE SECURITY
          AGREEMENT/DEED OF TRUST/MORTGAGE AND OTHER LOAN DOCUMENTS IRREVOCABLY AND
          UNCONDITIONALLY WAIVES, ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION, SUIT OR
          COUNTERCLAIM ARISING IN CONNECTION WITH, OUT OF OR OTHERWISE RELATING TO THE
          PROMISSORY NOTE, THE SECURITY AGREEMENT, THE DEED OF TRUST, THE MORTGAGE, GUARANTEE
          OR ANY OTHER LOAN DOCUMENT OR THE OBLIGATIONS THEREUNDER. ALL OF THE AFORESAID
          PARTIES SHALL HEREINAFTER BE REFERRED TO AS THE "PARTIES HERETO." THIS WAIVER IS
          KNOWINGLY, WILLINGLY AND VOLUNTARILY MADE BY THE PARTIES HERETO WITH FULL
          AWARENESSOF THE LEGAL CONSEQUENCES OF IT, AND THE PARTIES HERETO HEREBY REPRESENT
          THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY PERSON OR ENTITY TO
          INDUCE THIS WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT. THIS
          PROVISION IS A MATERIAL INDUCEMENT FOR THE PARTIES HERETO ENTERING INTO THIS
          AGREEMENT. THE PARTIES HERETO ARE EACH HEREBY AUTHORIZED TO FILE A COPY OF THIS
          SECTION IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE OF THIS WAIVER OF JURY TRIAL. EACH
          PARTY HERETO FURTHER REPRESENTS AND WARRANTS THAT IT HAS BEEN REPRESENTED IN THE
          SIGNING OF THIS AGREEMENT AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL
          COUNSEL, OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED BY INDEPENDENT LEGAL COUNSEL
          SELECTED OF ITS OWN FREE WILL AND HAS VOLUNTARILY CHOSEN NOT TO DO SO.
          COLLATERAL PROTECTION INSURANCE NOTICE
          As part of this Agreement, Debtor gives Secured Party a security interest in the Property described on page 1. Debtor is required
          to maintain insurance on the Property in an amount Secured Party specifies, subject to applicable law. Debtor agrees to purchase
          the insurance from an insurer authorized to do business in Texas or an eligible surplus lines insurer to the extent permitted by
          law. Debtor will name Secured Party as loss payee on the insurance policy. Debtor may be required to deliver a copy of the
          property insurance policy and proof of payment of premiums to Secured Party. If Debtor fails to meet any of these requirements,
          Secured Party may obtain collateral protection insurance on Debtor's behalf. Secured Party is not required to purchase any type
          or amount of insurance. Secured Party may obtain replacement cost insurance if authorized under applicable law, subject to
          policy limits. If Secured Party purchases insurance for the Property, Debtor will be responsible for the cost of that insurance,
          including interest and any other charges incurred by Secured Party in connection with the placement of collateral protection
          insurance to the extent permitted by law. Debtor understands that insurance obtained by Secured Party may cost significantly
          greater than the cost of insurance Debtor could have obtained. Amounts that Debtor owes are due and payable upon demand or
          on such other terms as Secured Party requires to the extent permitted by law.

THIS WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN PARTIES.




      •       Specific Property Description.             The Property includes, but is not limited by, the following (if required, provide real estate
              description):



USE OF PROPERTY.                        The Property will be used for

                                        I I personal        business     1 3 agricultural    Q   other purposes; specify:

      Signatures.           Debtor agrees to the terms on pages 1, 2, and 3 of this Agreement and acknowledges receipt of a copy of this
                            Agreement.




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                                                          Loan No.:      268100275
                                                          Borrower:      Big Racques Ranches, LLC
                                                          Assn:          Capital Farm Credit, PCA
                                                          Branch:        San Antonio

                                                DEBTOR




                 Randy Balderas



             Capital Farm Credit, PCA
             NMLSID: 493828
             Mark Sloan
             NMLSID: 612386




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